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5
     Attorney for Defendant
     MICHAEL JOHN AVENATTI
6

7                             UNITED STATES DISTRICT COURT
8                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
9

10
     UNITED STATES OF AMERICA,                      SA CR No. 19-061-JVS

11
                 Plaintiff,                         DEFENDANT’S EX PARTE
                        v.                          APPLICATION FOR ORDER
12                                                  CONTINUING TRIAL DATE AND
     MICHAEL JOHN AVENATTI,                         FINDING EXCLUDABLE TIME DUE TO
13
                                                    RECENT PERVASIVE AND
14
                 Defendant.                         PREJUDICIAL PRE-TRIAL PUBLICITY
                                                    AND THE GOVERNMENT’S
15                                                  ASSOCIATED CONDUCT
16
                                                    Current Trial Date: July 13, 2021
17                                                  Proposed Trial Date: October 12, 2021
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21         Defendant Michael John Avenatti, through counsel, hereby applies ex parte to

22   continue the trial date in this matter from July 13, 2021 to October 12, 2021, to continue

23   the final pre-trial conference, and for a finding of excludable time under the Speedy Trial

24   Act. The government opposes this application. The requested relief is based on the

25   attached declaration and its exhibits, the files and records in this case, and any other

26   information that the Court may consider.

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      Dated: July 12, 2021                 Respectfully submitted,
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3                                          /s/ H. Dean Steward
                                            H. DEAN STEWARD
4
                                           Attorney for Defendant
5                                          MICHAEL JOHN AVENATTI
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1                          DECLARATION OF H. DEAN STEWARD
2    I, H. Dean Steward, declare:
3          1.     I am currently appointed counsel for Defendant Michael John Avenatti
4    (“Mr. Avenatti”). I was previously retained counsel for Mr. Avenatti from
5    approximately May 15, 2019 through August of 2020. I make this declaration in support
6    of Mr. Avenatti’s Ex Parte Application for Order Continuing Trial Date and Finding
7    Excludable Time Due to Recent Pervasive and Prejudicial Pre-Trial Publicity and the
8    Government’s Associated Conduct.
9          2.     Mr. Avenatti was arrested in connection with this matter on March 25, 2019
10   and made his first appearance in the Central District on April 1, 2019. On April 10,
11   2019 the government designated this case as complex. [Dkt. 18.]
12         3.     On August 26, 2019, the Court set the first real trial date in this complex
13   case as May 19, 2020 [Dkt. 64.] Even though other trial dates had been set by the Court
14   prior to this date, it was understood among the parties and the Court that such dates were
15   mere placeholders for purposes of the Speedy Trial Act. Indeed, this is why the Court
16   specifically ordered the parties to appear at an August 26, 2019 Status Conference
17   prepared to discuss a real trial date. [Dkt. 54.]
18         4.     On March 13, 2020, the Central District entered a General Order
19   suspending jury selection and jury trials scheduled to begin before April 13, 2020
20   because of the Coronavirus. See C.D. Cal. General Order No. 20-02, In Re: Coronavirus
21   Public Emergency, Order Concerning Jury Trials and Other Proceedings (March 13,
22   2020). Shortly thereafter, the trial date in this case was continued at the request of the
23   defense to August 18, 2020. [Dkt. 126, entered March 26, 2020.] This ultimately,
24   however, had no impact on the trial date because jury trials remained suspended in the
25   Central District from March 13, 2020 until May 10, 2021 pursuant to various General
26   Court Orders.
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1             5.     The current trial date of July 13, 2021 was set by the Court on January 6,
2    2021, while jury trials in the Central District remained suspended.
3             6.     New York City, New York is widely considered the epicenter for the United
4    States news media, with nearly every major news organization having its headquarters or
5    a presence in the city. Because of this presence, events that occur in New York City
6    routinely attract outsized national media attention and result in news about them being
7    broadcast throughout the United States.
8             7.     Two court days ago, on Thursday, July 8, 2021, Mr. Avenatti attended his
9    criminal sentencing in the Southern District of New York (in Manhattan) in connection
10   with Case No. 19 Cr. 373 (PGG) (the “Nike case”). Prior to this date, Mr. Avenatti
11   requested that the government consent to move the sentencing until after the trial in this
12   case, which was set for July 13, 2021; the government refused. Mr. Avenatti
13   subsequently requested that the SDNY court adjourn the sentencing until after the trial in
14   this case [Dkt. 324]; the court declined and instead set it for July 8 [Dkt. 326, 328]. 1
15            8.     During the sentencing hearing, the court and the government made a
16   number of negative and critical comments about Mr. Avenatti, his conduct as a lawyer,
17   and his treatment of his client. At the sentencing hearing, the government also
18   acknowledged on the record that the trial in this case was imminent and that they had
19   been in contact with the individual prosecutors in charge of this case as it related to the
20   trial schedule. 2 Mr. Avenatti was ultimately sentenced to 30 months in prison.
21            9.     Within 15 minutes of the conclusion of the sentencing hearing, the
22   government, knowing that jury selection was scheduled to begin in this case within days,
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24    Mr. Avenatti was convicted in the Nike case on February 14, 2020 and his sentencing
     hearing was scheduled at that time for June 17, 2020 [Dkt. 266.] Due to the COVID-19
25   pandemic and related issues, however, in-person sentencings were subsequently
26   suspended in the Southern District of New York on March 30, 2020 and Mr. Avenatti’s
     sentencing was repeatedly delayed. See, e.g., SDNY Standing Order and amendments,
27   M10-468.
     2
28       As of this filing, the transcript from the hearing is unavailable.
                                                       2
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1    issued and distributed an inflammatory press release, which detailed Mr. Avenatti’s
2    conviction and sentencing and was highly critical of Mr. Avenatti. See Exhibit A. The
3    government chose to title the press release, which was “FOR IMMEDIATE RELEASE”
4    and widely disseminated nationally and in Los Angeles and Orange counties, as follows:
5    “Michael Avenatti Sentenced To Over Two Years in Prison For Attempting To Extort
6    Nike And For Defrauding His Client.” The press release also included the following
7    quote from U.S. Attorney Audrey Strauss 3 in the second paragraph: “Michael Avenatti
8    used illegal and extortionate threats and betrayed one of his clients for the purpose of
9    seeking to obtain millions of dollars for himself. Not only did Avenatti attempt to
10   weaponize his law license and celebrity to seek to start to extort payments for himself, he
11   also defrauded his own client. Avenatti will now serve substantial time in prison for his
12   criminal conduct.” In addition, at 3:04 p.m. ET, only 13 minutes after the sentencing
13   hearing ended, the government also posted the press release to their twitter account,
14   which has over 101,400 followers, including numerous reporters and members of the
15   media. To make matters worse, instead of simply providing a link to the press release in
16   their tweet, the government added this message: “Michael Avenatti sentenced to over
17   two years in prison for attempting to extort Nike and for defrauding his client.
18   @NewYorkFBI .”
19         10.    These extrajudicial statements, in the form of the press release and the
20   tweet, issued by the government only days before voir dire in this case was set to begin,
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22   3
       The Nike court recently found that the prosecution and investigation of Mr. Avenatti
23   has been jointly conducted by prosecutors from the DOJ offices of the Southern District
24   of New York and the Central District of California. [Dkt. 336, pp. 85-86.] Further, a
     spokesman for the U.S. Attorney’s Office in the Central District recently admitted
25   publicly, in reference to this very case, that different U.S. Attorney’s Offices “are all part
26   of the same Department of Justice that represents the same client – the United States.”
     Henrik Nisson “A new plagiarism accusation as Avenatti’s trial looms,” Daily Journal
27   (June 23, 2021).
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1    constitutes a significant and purposeful interference with Mr. Avenatti’s constitutional
2    rights, including his right to due process and a fair trial under the Sixth and Fourteenth
3    Amendments. They also violate California Rules of Professional Conduct 3.6 and 3.8(e)
4    relating to trial publicity and extrajudicial statements in a criminal proceeding. These
5    rules are specifically applicable to federal prosecutors pursuant to 28 U.S.C. § 530B(a). 4
6    As of this filing, the tweet remains on the account and the press release remains on the
7    government’s website.
8          11.    Immediately after the government’s press release was issued and the
9    government sent their tweet, the details of Mr. Avenatti’s conviction and sentencing
10   went viral, with thousands of tweets, social media posts, and press reports mentioning
11   Mr. Avenatti’s conviction and prison sentence. Many of the negative comments by the
12   court and the government at the sentencing, together with details and quotes from the
13   government’s press release, were repeated by the national and local media in the hours
14   and days that followed and were widely distributed in the Central District, including in
15   Los Angeles and Orange County. As detailed below, the negative publicity that has
16   resulted is massive and pervasive, continues as of the time of this filing, and has
17   saturated the Central District, Orange County and beyond.
18         12.    That evening and into the weekend, Mr. Avenatti’s conviction and prison
19   sentence in the Nike case were splashed across the Internet, in national and local
20   newspapers, and on social media (Twitter, Facebook and Instagram), including
21   throughout Los Angeles and Orange Counties. Countless memes mocking Mr.
22   Avenatti’s prison sentence flooded social media. 5 In addition, the details of Mr.
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      These extrajudicial statements were also violative of SDNY Local Criminal Rule 23.1
25   because at the time they were made, there was “a substantial likelihood that such
26   dissemination [would] interfere with a fair trial or otherwise prejudice the due
     administration of justice.”
27   5
       A simple search of Twitter, Facebook and Instagram using the term “Avenatti” reveals
28   tens of thousands of recent social media posts and re-posts, distributed to literally tens of
                                                 4
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1    Avenatti’s conviction and prison sentence, including the details of the sentencing
2    hearing, were reported on national and local television, including on NBC, CBS, ABC,
3    CNN, MSNBC, Fox News and Newsmax (among other networks), and distributed to
4    tens of millions of viewers throughout the Central District and the United States.
5    Attached hereto as Exhibit B is a spreadsheet listing some, but certainly not all, of the
6    massive and pervasive negative publicity that resulted – locally, nationally and even
7    internationally. The Court is further directed to the following, which are only examples
8    of hundreds of stories and broadcasts that appeared over the last few days:
9          a. Orange County Register, July 8 (updated July 9): “Avenatti sentenced to 30
10             months for extortion attempt” https://www.ocregister.com/2021/07/08/avenatti-
11             sentenced-to-30-months-for-extortion-
12             attempt/#:~:text=PUBLISHED%3A%20July%208%2C%202021%20at,2021%
13             20at%2012%3A04%20p.m.&text=A%20federal%20judge%20sentenced%20c
14             elebrity,millions%20of%20dollars%20from%20Nike.
15         b. Los Angeles Times, July 8: “Trump antagonist Michael Avenatti gets 2 ½
16             years in prison in Nike extortion case” https://www.latimes.com/world-
17             nation/story/2021-07-08/avenatti-sentenced-to-2-1-2-years-in-prison-for-
18             extortion
19         c. Los Angeles Times, July 9: “Today’s Headlines” (LA Times called sentencing
20             reporting a “stor[y] you shouldn’t miss today”)
21             https://www.latimes.com/world-nation/newsletter/2021-07-09/drought-water-
22             usage-newsom-todays-headlines
23         d. Los Angeles Magazine, July 8: “Michael Avenatti tearfully laments his fall
24             from grace at New York Sentencing”
25             https://www.lamag.com/citythinkblog/michael-avenatti-tearfully-laments-his-
26             fall-from-grace-at-new-york-sentencing/
27
     millions of people over the last four days, relating to Mr. Avenatti’s criminal conviction
28   and prison sentence.
                                                   5
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1          e. Los Angeles Magazine, July 9: “Morning Brief” (Los Angeles Magazine
2             highlighted as a “top stor[y] from LA Mag”
3             https://www.lamag.com/citythinkblog/morning-brief-drought-california/
4          f. Riverside Press-Enterprise, July 8: “Avenatti sentenced to 30 months for
5             extortion attempt” https://www.pe.com/2021/07/08/avenatti-sentenced-to-30-
6             months-for-extortion-attempt/
7          g. Patch.com, July 8: “Avenatti sentenced in Nike extortion case, awaits trial in
8             OC” https://patch.com/california/newportbeach/avenatti-sentenced-nike-
9             extortion-case-awaits-trial-oc
10         h. Patch.com, July 8: Included in roundup. “Take a look at some of the top news
11            stories over the past week from across California.”
12            https://patch.com/california/carlsbad/delta-variant-now-dominant-zoo-
13            vaccinates-animals-ca-stories
14         i. San Diego Union-Tribune, July 8 (x2): Stories on sentencing appeared in both
15            the “Nation-World” and “National Entertainment” sections
16            https://www.sandiegouniontribune.com/search?q=%22michael+avenatti%22&
17            s=1
18         j. ABC 7 Los Angeles, July 8 (online and broadcast): https://abc7.com/michael-
19            avenatti-wiki-extortion-definition-quotes-charges/10872435/
20         k. KTLA (Los Angeles), July 8 (online and broadcast):
21            https://ktla.com/news/nationworld/michael-avenatti-sentenced-to-2-1-2-years-
22            in-prison-for-trying-to-extort-millions-from-nike/
23         l. NBC News 4 Los Angeles, July 8 (online and broadcast):
24            https://www.nbclosangeles.com/news/national-international/michael-avenatti-
25            faces-sentencing-in-nike-extortion-scheme/2633790/
26         m. NBC News 4 Los Angeles, July 8 (additional): “Disgraced Trump foe Michael
27            Avenatti weeps as he is sentenced to 2.5 years in prison for Nike extortion
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                                                 6
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1             scheme” https://www.nbclosangeles.com/news/business/money-
2             report/disgraced-trump-foe-michael-avenatti-faces-sentencing-for-nike-
3             extortion-scheme/2634104/
4          n. CBSN Los Angeles, July 8 (“breaking news” update at 12:02 PM PST):
5             https://losangeles.cbslocal.com/2021/07/08/celebrity-la-attorney-michael-
6             avenatti-gets-2-%C2%BD-years-in-prison-in-nike-extortion-case/
7          o. Fox 11 (Los Angeles), July 9 (online and broadcast):
8             https://www.foxla.com/news/michael-avenatti-sentenced-to-2-1-2-years-in-
9             prison-for-trying-to-extort-25m-from-nike
10         p. NBC 7 San Diego, July 8: https://www.nbcsandiego.com/news/national-
11            international/michael-avenatti-faces-sentencing-in-nike-extortion-
12            scheme/2650560/
13         q. Today Show (national), July 9: https://www.today.com/video/michael-avenatti-
14            gets-2-5-years-in-prison-for-attempting-to-extort-nike-116464709893
15         r. ABC News (national), July 8: https://abcnews.go.com/WNT/video/celebrity-
16            lawyer-michael-avenatti-sentenced-prison-78742926
17         s. CBS News (national), July 8: https://www.cbsnews.com/news/michael-
18            avenatti-sentence-nike-extortion/?intcid=CNM-00-10abd1h
19         t. CNN, July 8 (national): https://www.cnn.com/2021/07/08/politics/michael-
20            avenatti-prison-nike-extortion/index.html
21         u. CBS This Morning (national), July 9: https://www.foxnews.com/media/cbs-
22            news-michael-avenatti
23         v. Wall Street Journal (national), July 8: “Michael Avenatti sentenced to 2 ½
24            years for trying to extort Nike” https://www.wsj.com/articles/michael-avenatti-
25            faces-sentencing-for-trying-to-extort-millions-from-nike-11625743801
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1           w. Associated Press (national), July 8: “Avenatti sentenced to 2 ½ years in prison
2                 for extortion” https://www.wsj.com/articles/michael-avenatti-faces-sentencing-
3                 for-trying-to-extort-millions-from-nike-11625743801
4           x. New York Times (national), July 8: “Avenatti sentenced to two and a half
5                 years in Nike extortion case”
6                 https://www.nytimes.com/2021/07/08/sports/michael-avenatti-prison-nike.html
7           y. Wall Street Journal (national), July 9: “Stop Creating Avenattis: Will the
8                 criminal sentencing of CNN’s favorite lawyer lead to any media reform?”
9                 https://www.wsj.com/articles/stop-creating-avenattis-11625852839
10          z. USA Today (national), July 8:
11                https://www.usatoday.com/story/news/2021/07/08/michael-avenatti-stormy-
12                daniels-lawyer-sentenced-25-m-nike-plot/7906843002/
13          aa. People Magazine (national), July 9: https://people.com/politics/michael-
14                avenatti-sentenced-to-2-5-years-in-nike-extortion-case/
15          bb. Daily Beast (national), July 9: “Resistance Grifter Michael Avenatti Gets What
16                He Had Coming: But the networks that treated his clown show like serious
17                business haven’t paid any price at all for offering this hustler as the hero we
18                deserve.” https://www.thedailybeast.com/resistance-grifter-michael-avenatti-
19                gets-what-he-had-coming?ref=home
20

21          13.      In the hours that followed Mr. Avenatti’s sentencing, “Michael Avenatti”
22    was trending as one of the top topics on Twitter in the World, in the United States, and in
23    the Central District, including in Los Angeles and Orange County, with literally tens of
24    thousands of tweets about his sentencing being broadcast and re-broadcast. See, e.g.,
25    https://www.exportdata.io/trends/united-states/2021-07-08/20
26    https://www.exportdata.io/trends/worldwide/2021-07-08/20
27    https://www.exportdata.io/trends/united-states/2021-07-08/21
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1     https://www.exportdata.io/trends/united-states/2021-07-08/22
2     By 3:00 p.m. on July 8, over 46,700 tweets concerning Mr. Avenatti had been sent that
3     day alone.
4           14.    Over the last four days, numerous “verified” Twitter users with hundreds of
5     thousands or millions of followers, have routinely posted and distributed tweets about
6     Mr. Avenatti’s prison sentence that were highly negative and prejudicial. A small
7     sampling of such tweets is attached hereto as Exhibit C; more may be obtained with a
8     simple twitter search of Mr. Avenatti’s name. The total combined followers for those
9     individuals included within Exhibit C alone is over 26,700,000.
10          15.    On July 8, “Michael Avenatti” was the number nine highest trending search
11    on Google in the entire United States. See Exhibit D.
12          16.    Attached as Exhibit E are two graphs from Google Trends (created July 11)
13    showing Google search trends for “Michael Avenatti” with the date range 7/4/21-
14    7/11/21. The first graph shows interest in the United States overall and the second
15    shows interest in California. As these charts show, searches for Mr. Avenatti’s name did
16    not peak on July 8, continued at an extremely high level well beyond July 8, and have
17    yet to subside and return to anywhere close to their pre-July 8 levels.
18          17.    Attached as Exhibit F is a map from Google Trends (created July 11)
19    showing recent interest in Mr. Avenatti by region, with blue dots representing the areas
20    on a map of the U.S. where Google searches for “Michael Avenatti” made up the
21    greatest percentage of overall search terms over the past seven days. The map
22    automatically shows the 12 top regions where the search term “Michael Avenatti” was
23    the most popular relative to all searches conducted in those days. As this map
24    demonstrates, interest in Mr. Avenatti and searches for his name in the Central District
25    have exploded over the last week, obviously due to the vast amount of publicity from his
26    high-profile sentencing.
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1           18.      Fox News is regularly regarded as the most powerful and influential news
2     organization in America. It is the most watched cable network on television in the
3     United States and easily the most watched cable network in Orange County. It routinely
4     outperforms the three major American networks (ABC, CBS and NBC) for ratings, with
5     many of its shows drawing millions of viewers every hour, especially in primetime. For
6     instance, Tucker Carlson’s show Tucker Carlson Tonight, is the highest rated show on
7     cable television (including news and non-news), reaching approximately five million
8     viewers per night.
9           19.      Because of Mr. Avenatti’s role as a staunch and outspoken critic of former
10    President Trump and his feud with Fox News, which began in early 2018 when the
11    network began calling Mr. Avenatti the “Creepy Porn Lawyer,” Fox News in particular
12    has made it a point over the last four days to repeatedly broadcast details of Mr.
13    Avenatti’s conviction and prison sentence, gloat and mock him to their millions of
14    viewers, including in Orange County. These broadcasts repeatedly referred to Mr.
15    Avenatti as a “slimeball,” “total fraud,” “shady hustler,” and also references to his
16    upcoming trial such as “he had already ‘allegedly’ [in air quotes] stolen money from his
17    clients.” By way of example only:
18          a. The Five, Thursday, July 8: “The Five look back at how the media covered the
19                disgraced lawyer”: https://video.foxnews.com/v/6262918446001#sp=show-
20                clips
21          b. Tucker Carlson Tonight, Thursday, July 8: “On today’s episode of ‘Tucker
22                Carlson Tonight,’… “porn lawyer Michael Avenatti sentenced to over two
23                years in jail.” https://video.foxnews.com/v/6262967745001#sp=show-clips 6
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      6
26     This segment included former Assistant U.S. Attorney and high-level DOJ official
27
      Francey Hakes, who, together with Mr. Carlson, proceeded to gleefully mock and
      disparage Mr. Avenatti to approximately five million viewers on the most watched show
28    on cable television in America.
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1           c. The Five, July 9: “Jesse calls Avenatti coverage ‘biggest liberal media
2                 embarrassment ever.’ ” (Posted by Fox News, 7.58M subscribers on YouTube)
3                 https://www.youtube.com/watch?v=tzsB9dakCh8
4           d. July 9: “Joe Concha: Media’s obsession with Avenatti was media activism in
5                 broad daylight” https://video.foxnews.com/v/6263055367001#sp=show-clips
6           e. July 9: “Media top headlines July 9”
7                 https://video.foxnews.com/v/6263012921001/#sp=show-clips
8           f. Gutfeld!, July 9: Billed as “On today’s episode of ‘Gutfeld!’ Greg Gutfeld
9                 reacts to Michael Avenatti sentenced to two years in prison for trying to extort
10                millions from Nike…”
11                https://video.foxnews.com/v/6263124554001#sp=show-clips
12          g. Outnumbered, July 9: “On today’s episode…the media’s former rock star
13                lawyer Michael Avenatti is sentenced to prison for extortion.”
14                https://video.foxnews.com/v/6263054461001#sp=show-clips
15          h. Fox News, July 9: “Tucker shreds media hero Michael Avenatti highlighting
16                his great demise.” (Posted by Fox News, 7.58M subscribers on YouTube)
17                https://www.youtube.com/watch?v=VJtnl_lzIS4
18          i. Fox Business, July 10: “Elizabeth MacDonald: Media walked into a ‘buzz
19                saw’ of breathtaking ‘stupidty’.”
20                https://www.youtube.com/watch?v=eijrs9GFc2U
21

22          20.      Fox News also published, across days, numerous derogatory news articles
23    about Mr. Avenatti on their popular websites www.foxnews.com and
24    www.foxbusiness.com. By way of example only:
25          a.       July 8: Fox Business https://www.foxbusiness.com/politics/michael-
26                   avenatti-sentenced-prison-nike
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1           b.    July 8: “Michael Avenatti seen weeping in court after sentencing”
2                 https://video.foxnews.com/v/6262918446001#sp=show-clips
3           c.    July 9: “Joe Concha on the media’s lesson following Avenatti sentence:
4                 ‘Don’t befriend a shady hustler’” https://www.foxnews.com/opinion/joe-
5                 conch-media-michael-avenatti-jail-msnbc-cnn
6           d.    July 9: “Geraldo: Media looks ‘looks foolish’ for promoting ‘loathesome
7                 creature’ Michael Avenatti, as attorney sentenced”
8                 https://www.foxnews.com/opinion/joe-conch-media-michael-avenatti-jail-
9                 msnbc-cnn
10          e.    July 9: “Stormy Daniels reacts to Michael Avenatti’s sentencing”
11                https://www.foxnews.com/us/stormy-daniels-reacts-michael-avenattis-
12                sentencing
13          f.    July 9: “Ex-CNN regular Michael Avenatti’s fall from stardom complete as
14                he gets prison time for Nike extortion plot”
15                https://www.foxnews.com/media/ex-cnn-regular-michael-avenattis-fall-
16                from-stardom-complete-as-he-gets-prison-time-for-nike-extortion-plot
17          g.    July 9: “CBS correspondent admits ‘maybe we went about covering’
18                Michael Avenatti ‘the wrong way’” https://www.foxnews.com/media/cbs-
19                news-michael-avenatti
20          h.    July 10: Gutfeld: Will the media apologize for Avenatti coverage?”
21                https://www.foxnews.com/opinion/greg-gutfeld-media-handiwork-hate-
22                crime-hoax
23          i.    July 10: “Disgraced Avenatti a symbol of the biased anti-Trump media era:
24                Ari Fleischer” https://www.foxnews.com/media/disgraced-avenatti-symbol-
25                biased-anti-trump-media-ari-fleischer
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1           21.    On July 9, 2019, Donald Trump Jr., former President Donald Trump’s son,
2     began boasting on social media about Mr. Avenatti’s criminal sentence, including to his
3     6.8 million twitter followers. See
4     https://twitter.com/DonaldJTrumpJr/status/1413634619208081414 Trump Jr. later
5     posted a personal video on rumble.com blasting and mocking Mr. Avenatti’s prison
6     sentence. See https://rumble.com/vjnaml-so-michael-avenatti-predicted-that-i-would-go-
7     to-jail-looks-like-he-did.html. Trump then continued his barrage by launching into a
8     longwinded attack aimed at Mr. Avenatti while speaking at the televised national CPAC
9     convention in Dallas, Texas, stating, among other things, “Despite what we see going on
10    a daily basis, there is a silver lining, Michael Avenatti is going to prison.” 7 A video
11    soundbite of the attack was lauded by Fox News and other right wing media outlets and
12    distributed to millions of viewers via television and social media, including within the
13    Central District and in Orange County. See, e.g., July 9: “Donald Trump Jr. tears into
14    Avenatti, Fauci, Hunter Biden, and CNN in a fiery CPAC Dallas speech”
15    https://www.foxnews.com/politics/donald-trump-jr-cpac-dallas. Trump Jr. then tweeted
16    this clip to his 6.8 million followers on July 10. Yesterday, on July 11, Trump Jr. sent
17    out another tweet targeting Mr. Avenatti (his third in three days) in which he stated,
18    while providing a link to a video: “Former CNN endorsed democratic presidential
19    contender Michael Avenatti is going to prison . . . You may want to watch my thoughts.”
20    https://twitter.com/DonaldJTrumpJr/status/1414303348359106568
21          22.    Various media outlets also continued to report about Mr. Avenatti’s
22    criminal conviction and sentence over the weekend. See, e.g., Exhibit B. For instance,
23    TMZ.com, a hugely popular website in the Central District and Orange County, ran an
24    online poll beginning on Saturday and continuing over the weekend asking if Mr.
25    Avenatti’s prison sentence was “fair” or whether he “got off easy.” See, e.g., TMZ.com.
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27    7
       https://www.youtube.com/watch?v=KGgkANUoqlQ (Posted by The Hill, 1.2M
28    subscribers on YouTube)
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     Case 8:19-cr-00061-JVS Document 534 Filed 07/12/21 Page 16 of 62 Page ID #:9219




1     This followed a story on TMZ.com about Mr. Avenatti’s conviction and prison sentence.
2     As of the date of this application, over 59,500 people have voted in the online poll, with
3     people continuing to vote as of this filing. See also, July 10: Judge Jeanine Pirro
4     segment with Tomi Lahren: https://www.mediaite.com/tv/judge-jeanine-tomi-lahren-
5     slam-cnns-prior-positive-coverage-of-bozo-michael-avenatti-if-youre-anti-trump-you-
6     get-a-gold-star/; July 10: Dinesh D’Souza, “Seedy Attorney Michael Avenatti Gets What
7     He Deserves – Prison.” https://www.youtube.com/watch?v=bqcd2x5UoDA&t=1s; July
8     11 (Newsmax TV): Rob Schmitt’s News From The Left, “Remember when they thought
9     Avenatti was Christ” https://www.youtube.com/watch?v=Nb1CnVeWjzw.
10          23.    The highly prejudicial impact of these saturating news stories, social media
11    posts and the DOJ press release and tweet on Mr. Avenatti and his constitutional rights,
12    including his right to due process, a fair trial and a fair and impartial jury in this case, is
13    obvious and cannot be overstated. This is especially true because they: (a) occurred
14    within the last four days and on the eve of jury selection; (b) were pervasive, prolonged
15    and numbered in the tens of thousands if not more; (c) reached millions of people, and
16    likely tens of millions of people, across the United States and the Central District,
17    including the likely jury pool; (d) discuss and criticize Mr. Avenatti’s role as a lawyer
18    and his dealings with a client; (e) disclose that Mr. Avenatti was not only found guilty in
19    another federal case involving a former client but was also sentenced to federal prison
20    for years; and (f) mention that Mr. Avenatti accepted and acknowledged responsibility
21    for certain of his actions. In fact, it is difficult to imagine anything that could be
22    more prejudicial to Mr. Avenatti and his constitutional rights under the Sixth and
23    Fourteenth Amendments than the DOJ press release and tweet, and the onslaught
24    of local and national media coverage and social media posts about Mr. Avenatti
25    that has occurred in the last few days, on the eve of jury selection.
26          24.    The government’s press release and tweet, together with the widespread
27    news coverage and social media posts resulting from Mr. Avenatti’s sentencing, requires
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     Case 8:19-cr-00061-JVS Document 534 Filed 07/12/21 Page 17 of 62 Page ID #:9220




1     that the trial, including the beginning of oral voir dire scheduled for July 13, be delayed.
2     The release and exposure have made it impossible for Mr. Avenatti’s constitutional
3     rights to be adequately protected and respected if the trial proceeds as scheduled. See
4     Sheppard v. Maxwell, 384 U.S. 333, 362-63 (1966) (“Due process requires that the
5     accused receive a trial by an impartial jury free from outside influences. Given the
6     pervasiveness of modern communications and the difficulty of effacing prejudicial
7     publicity from the minds of the jurors, the trial courts must take strong measures to
8     ensure that the balance is never weighed against the accused. . . . [W]here there is a
9     reasonable likelihood that prejudicial news prior to trial will prevent a fair trial, the judge
10    should continue the case until the threat abates, or transfer it to another county not so
11    permeated with publicity. . . . But we must remember that reversals are but palliatives;
12    the cure lies in those remedial measures that will prevent the prejudice at its inception.
13    The courts must take such steps by rule and regulation that will protect their processes
14    from prejudicial outside interferences. (emphasis added). See also Levine v. United
15    States Dist. Court for Cent. Dist., 764 F.2d 590, 596 (9th Cir. 1985) (“We have
16    recognized that the Sheppard Court unequivocally imposed a duty upon trial courts to
17    take affirmative steps to insure the fairness of a criminal proceeding in the face of
18    excessive publicity. Farr, 522 F.2d at 468; see also Hirschkop, 594 F.2d at 366 n. 8
19    (noting that the language in Sheppard “is more nearly directive than suggestive”).”)
20    (emphasis added). This is even more true here because the most substantial likelihood of
21    material prejudice surrounds statements that a lawyer or the media makes on the eve of
22    trial - and before the jurors have been instructed not to listen to them – on subjects that
23    could never come into evidence. The press release, tweet, and media coverage and
24    social media posts center on Mr. Avenatti’s conviction in another federal case involving
25    a client and Mr. Avenatti receiving a sentence of over two years in prison for his conduct
26    – information that is inadmissible in this case. The highly prejudicial impact of these
27    subjects on Mr. Avenatti in connection with the upcoming trial, which involves ten
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     Case 8:19-cr-00061-JVS Document 534 Filed 07/12/21 Page 18 of 62 Page ID #:9221




1     counts centered on the alleged defrauding of other unrelated clients, is both apparent and
2     enormous.
3           25.    Additional, longstanding Supreme Court precedent supports defendant’s
4     application and makes clear that the Court should grant the requested continuance. See,
5     e.g., Marshall v. United States, 360 U.S. 310, 313 (1959) (setting aside conviction where
6     jurors were exposed to information through news accounts that was not admitted at trial
7     and acknowledging that the prejudice from such material “may indeed be greater” than
8     when it is part of the prosecution’s evidence because it is then not tempered by
9     protective measures). Importantly, in Marshall, the Supreme Court did not consider the
10    statement by each juror “that he would not be influenced by the news articles, that he
11    could decide the case only on the evidence of record, and that he felt no prejudice against
12    petitioner as a result of the articles,” to be dispositive. Id. at 312. See also Irvin v.
13    Dowd, 355 U.S. 717, 728 (1961) (setting aside conviction even though each juror
14    indicated that he could render an impartial verdict despite exposure to prejudicial
15    newspapers articles, holding: “With his life at stake, it is not requiring too much that
16    petitioner be tried in an atmosphere undisturbed by so huge a wave of public passion . . .
17    .”); Patterson v. Colorado, 205 U.S. 454, 462 (1907) (“The theory of our system is that
18    the conclusions to be reached in a case will be induced only by evidence and argument
19    in open court, and not by any outside influence, whether of private talk or public print.”);
20    Estes v. Texas, 381 U.S. 532, 542-43 (1965) (setting aside conviction despite the absence
21    of any showing of prejudice and stating “It is true that in most cases involving claims of
22    due process deprivations we require a showing of identifiable prejudice to the accused.
23    Nevertheless, at times a procedure employed by the State involves such a probability that
24    prejudice will result that it is deemed inherently lacking in due process.”); In re
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     Case 8:19-cr-00061-JVS Document 534 Filed 07/12/21 Page 19 of 62 Page ID #:9222




1     Murchison, 349 U.S. 133, 136 (1955) (Justice Black) (stating “our system of law has
2     always endeavored to prevent even the probability of unfairness.”)(emphasis added). 8
3           26.    Nor can the prejudice and violation of Mr. Avenatti’s constitutional rights
4     be cured by way of a jury questionnaire. Mr. Avenatti is entitled to start jury selection
5     with a venir of 150 individuals untarnished by the recent prejudicial information and
6     publicity described above, which was distributed only days prior and facilitated and
7     encouraged by the government by way of its press release and tweet. He should not be
8     required to begin voir dire at a severe disadvantage, with a freshly tainted venir, merely
9     because the government insists on trying this case now as opposed to after the prejudicial
10    effects of the publicity they helped foster have abated. The Constitution and the Sixth
11    and Fourteenth Amendments do not permit it. Further, the risk of this new, fresh,
12    widespread information somehow finding its way into the venir, and ultimately the
13    empaneled jury, is simply true great.
14          27.    Undersigned counsel cannot locate any other federal or state criminal case
15    in the last 100 years where the defendant was forced to begin voir dire and trial a mere
16    five days after he was sentenced to prison in another case that garnered massive and
17    pervasive international, national, and local negative press and social media coverage,
18    complete with a press release from the DOJ celebrating the defendant’s conviction and
19    prison sentence. Forcing Mr. Avenatti to do so here would be without precedent,
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21    8
        Although not applicable to the instant application because Mr. Avenatti does not seek a
22    change of venue, the Ninth Circuit has defined three factors to consider when
      determining whether prejudice is presumed from pre-trial publicity, thus warranting a
23
      change of venue: “(1) whether there was a barrage of inflammatory publicity
24    immediately prior to trial, amounting to a huge wave of public passion; (2) whether the
      news accounts were primarily factual because such accounts tend to be less
25
      inflammatory than editorials or cartoons; and (3) whether the media accounts contained
26    inflammatory or prejudicial material not admissible at trial.” Daniels v. Woodford, 428
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      F.3d 1181, 1211 (9th Cir. 2005). Here, in light of the publicity described above and in
      the attached exhibits, there can be no serious question as to whether this standard would
28    be met in this case.
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     Case 8:19-cr-00061-JVS Document 534 Filed 07/12/21 Page 20 of 62 Page ID #:9223




1     improper and a clear violation of his rights. It would also render the Supreme Court’s
2     decision in Sheppard and its progeny in the Ninth Circuit and elsewhere meaningless. If
3     Mr. Avenatti is not entitled to a brief trial continuance under these facts and in light of
4     the amount and type of the recent negative publicity, involving information that will
5     never come into evidence and is highly prejudicial (i.e. that Mr. Avenatti is a convicted
6     criminal who was just sentenced to prison for defrauding another client), no defendant
7     ever is.
8            28.   If the trial is continued, the prejudice to the government, if any, would be
9     minimal. Further, when weighed against the prejudice to the defense if a continuance is
10    not granted, the prejudice to the government is virtually non-existent.
11           29.   Importantly, this situation is largely of the government’s own making. It is
12    the government that chose to indict Mr. Avenatti in two cases in two different districts.
13    It is the government that refused to agree to move Mr. Avenatti’s sentencing in New
14    York until after the trial in this case (which is what Mr. Avenatti’s counsel requested out
15    of concern for this very problem). And it is the government that proceeded to issue its
16    inflammatory press release and tweet within minutes after the sentencing, with full
17    knowledge that voir dire in this case was only a few court days away (in violation of the
18    California Rules of Professional Conduct and with disregard for Mr. Avenatti’s
19    constitutional rights). As a result, the government should not be heard to complain now
20    about a brief delay.
21           30.   Accordingly, and for each of the above reasons, the trial should be delayed
22    to October 12, 2021 in order to allow the negative and massive publicity, and the
23    prejudice to Mr. Avenatti, to abate.
24           31.   On July 12, 2021, I contacted the government and requested their position
25    as to this Application. The government informed me that their position is as follows:
26    “We oppose for the reasons the Court has rejected your previous requests and because
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     Case 8:19-cr-00061-JVS Document 534 Filed 07/12/21 Page 21 of 62 Page ID #:9224




1     the questionnaire that approximately 150 people will be completing tomorrow will
2     determine whether the sentencing would impact the ability to choose an impartial jury.”
3           32.    I have carefully discussed the requested continuance with Mr. Avenatti and
4     fully advised him of his speedy-trial rights. Mr. Avenatti understands those rights and
5     has agreed to waive them so that I can adequately prepare and for the reasons set forth
6     above.
7           33.    I have appended to this declaration a signed acknowledgment and waiver in
8     which Mr. Avenatti gives up his right to be brought to trial earlier than October 12, 2021
9     if the continuance is granted. Based on my communications with Mr. Avenatti, I believe
10    that this waiver is knowing, voluntary, and intelligent.
11          34.    For purposes of calculating time, if the continuance is granted, Mr. Avenatti
12    requests that the time between the currently set trial date, July 13, 2021, and his
13    proposed trial date of October 12, 2021, be excluded on a finding that: (1) the ends of
14    justice served by a continuance outweigh the best interest of the public and Mr. Avenatti
15    in a speedy trial; (2) failing to grant the continuance would result in a miscarriage of
16    justice; and (3) failing to grant the continuance would unreasonably deny defense
17    counsel the reasonable time necessary for effective preparation, taking into account the
18    exercise of due diligence.
19          I declare under penalty of perjury under the laws of the United States of America
20    that the foregoing is true and correct and that this Declaration is executed at Newport
21    Beach, California.
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23          Dated: July 12, 2021                     /s/ H. Dean Steward
24                                                  H. Dean Steward
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Case 8:19-cr-00061-JVS Document 534 Filed 07/12/21 Page 23 of 62 Page ID #:9226




                      Exhibit A
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U.S. Attorneys » Southern District of New York » News » Press Releases

                                            Department of Justice

                                             U.S. Attorney’s Office

                                         Southern District of New York


FOR IMMEDIATE RELEASE                                                                    Thursday, July 8, 2021

   Michael Avenatti Sentenced To Over Two Years In Prison For
    Attempting To Extort Nike And For Defrauding His Client
Audrey Strauss, the United States Attorney for the Southern District of New York, announced that MICHAEL
AVENATTI was sentenced today in Manhattan federal court by United States District Judge Paul G.
Gardephe to 30 months in prison for attempting to extort NIKE, Inc., and for defrauding a client. AVENATTI
was previously found guilty on February 14, 2020, following a three-week jury trial.

Manhattan U.S. Attorney Audrey Strauss said: “Michael Avenatti used illegal and extortionate threats and
betrayed one of his clients for the purpose of seeking to obtain millions of dollars for himself. Not only did
Avenatti attempt to weaponize his law license and celebrity to seek to extort payments for himself, he also
defrauded his own client. Avenatti will now serve substantial time in prison for his criminal conduct.”

According to the Complaint, Superseding Indictment, court documents, and evidence presented at trial:

In a scheme that unfolded in less than a week, AVENATTI used threats of economic and reputational harm
to seek to extort NIKE, Inc. (“Nike”), while defrauding his client (“Client-1”), by promising to settle potential
claims by Client-1 against Nike if Nike agreed to make extortionate payments to AVENATTI. AVENATTI
threatened to hold a press conference on the eve of Nike’s quarterly earnings call and the start of the annual
National Collegiate Athletic Association (“NCAA”) basketball tournament at which he would announce
allegations of misconduct by employees of Nike. However, AVENATTI stated that he would refrain from
holding the press conference and harming Nike only if Nike made a payment of $1.5 million to Client-1, who
was in possession of information potentially damaging to Nike, and further agreed to “retain” AVENATTI and
another individual to conduct a supposed “internal investigation” – an investigation that neither Nike nor
Client-1 requested – for which AVENATTI demanded to be paid, at a minimum, between $15 million and $25
million. Alternatively, in lieu of such a retainer, AVENATTI demanded a total payment of $22.5 million from
Nike to resolve any claims Client-1 might have and to buy AVENATTI’s silence.

AVENATTI never told Client-1, among other things, that AVENATTI planned to and did threaten Nike that,
unless Nike paid AVENATTI, he would hold the press conference, or that AVENATTI planned to and did seek
money for himself separate from, and to the financial detriment of, Client-1.

                                            *           *          *
  Case 8:19-cr-00061-JVS Document 534 Filed 07/12/21 Page 25 of 62 Page ID #:9228
In addition to the prison sentence, AVENATTI, 50, of Venice Beach, California, was sentenced to three years
of supervised release. The Court deferred a determination as to restitution for a later date.

Ms. Strauss praised the work of the FBI and the Special Agents of the United States Attorney’s Office for the
Southern District of New York.

The case is being handled by the Office’s Public Corruption Unit. Assistant United States Attorneys Matthew
Podolsky, Daniel C. Richenthal, and Robert B. Sobelman are in charge of the prosecution.


Topic(s):
Financial Fraud

Component(s):
USAO - New York, Southern

Contact:
NICHOLAS BIASE, JIM MARGOLIN
(212) 637-2600

Press Release Number:
21-167

                                                                                           Updated July 8, 2021
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                       Exhibit B
                       Case 8:19-cr-00061-JVS Document 534 Filed 07/12/21 Page 27 of 62 Page ID #:9230

                                                    EXAMPLES OF AVENATTI PRESS COVERAGE
                                                             July 8 ‐ July 11, 2021

       DATE   SOURCE                  CAPTION                                                         LINK
1    07/08/21 Orange County           Avenatti sentenced to 30 months for extortion attempt           https://www.ocregister.com/2021/07/08/avenatti‐
              Register                Stormy Daniels' former lawyer reportedly tried to extort        sentenced‐to‐30‐months‐for‐extortion‐attempt‐2/
                                      Nike

2    07/08/21 Los Angeles Times       Trump antagonist Michael Avenatti gets 2 1/2 years in prison https://www.latimes.com/search?q=Michael+avenatti
                                      in Nike extortion case
3    07/08/21 KCAL 9                  Celebrity LA Attorney Michael Avenatti Gets 2 ½ Years In     https://losangeles.cbslocal.com/2021/07/08/celebrity‐la‐
                                      Prison In Nike Extortion Case                                attorney‐michael‐avenatti‐gets‐2‐%C2%BD‐years‐in‐prison‐
                                                                                                      in‐nike‐extortion‐case/
4    07/08/21 CBS Los Angeles         Celebrity LA Attorney Michael Avenatti Gets 2 ½ Years In        https://losangeles.cbslocal.com/2021/07/08/celebrity‐la‐
                                      Prison In Nike Extortion Case                                   attorney‐michael‐avenatti‐gets‐2‐%C2%BD‐years‐in‐prison‐
                                                                                                      in‐nike‐extortion‐case/
5    07/08/21 FOX 11                  Michael Avenatti sentenced to 2 1/2 years in prison for         https://www.foxla.com/news/michael‐avenatti‐sentenced‐
                                      trying to extort $25M from Nike                                 to‐2‐1‐2‐years‐in‐prison‐for‐trying‐to‐extort‐25m‐from‐nike

6    07/08/21 Los Angeles Magazine Michael Avenatti Tearfully Laments His Fall from Grace at          https://www.lamag.com/citythinkblog/michael‐avenatti‐
                                   New York Sentencing                                                tearfully‐laments‐his‐fall‐from‐grace‐at‐new‐york‐
                                                                                                      sentencing/
7    07/08/21 Pasadena Star‐News      Avenatti sentenced to 30 months for extortion attempt           https://www.pasadenastarnews.com/2021/07/08/avenatti‐
                                      Stormy Daniels' former lawyer reportedly tried to extort Nike   sentenced‐to‐30‐months‐for‐extortion‐attempt/

8    07/08/21 Los Angeles Daily       Avenatti sentenced to 30 months for extortion attempt           https://www.dailynews.com/2021/07/08/avenatti‐
              News                    Stormy Daniels' former lawyer reportedly tried to extort        sentenced‐to‐30‐months‐for‐extortion‐attempt‐2/
                                      Nike

9    07/08/21 FOX 11                  Michael Avenatti sentenced to 2 1/2 years in prison for         https://www.foxla.com/news/michael‐avenatti‐sentenced‐
              Los Angeles             trying to extort $25M from Nike                                 to‐2‐1‐2‐years‐in‐prison‐for‐trying‐to‐extort‐25m‐from‐nike

10   07/08/21 Daily Breeze            Avenatti sentenced to 30 months for extortion attempt           https://www.dailybreeze.com/?returnUrl=https%3A%2F%2
                                      Stormy Daniels' former lawyer reportedly tried to extort Nike   Fwww.dailybreeze.com%2F2021%2F07%2F08%2Favenatti‐
                                                                                                      sentenced‐to‐30‐months‐for‐extortion‐
                                                                                                      attempt%2F%3FclearUserState%3Dtrue




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                                                     EXAMPLES OF AVENATTI PRESS COVERAGE
                                                              July 8 ‐ July 11, 2021

11   07/08/21 KTLA 5                   Michael Avenatti sentenced to 2 1/2 years in prison for              https://ktla.com/news/nationworld/michael‐avenatti‐
                                       trying to extort millions from Nike                                  sentenced‐to‐2‐1‐2‐years‐in‐prison‐for‐trying‐to‐extort‐
                                                                                                            millions‐from‐nike/
12   07/06/21 Los Angeles Magazine Disgraced Lawyer Michael Avenatti Is Set to Face Fraud                   https://www.lamag.com/citythinkblog/avenatti‐trial‐
                                   Charges in Orange County ‐ Shortly after he’s sentenced in an            orange‐county/
                                       extortion scheme involving Nike, Stormy Daniels’s former attorney
                                       will head to trial for allegedly conning clients out of settlement
                                       money
13   07/08/21 keyt                     ‘More problems ahead’: Ex‐prosector says it’s not over for           https://keyt.com/video/2021/07/08/more‐problems‐ahead‐
                                       Avenatti                                                             ex‐prosector‐says‐its‐not‐over‐for‐avenatti/
14   07/08/21 keyt                     Michael Avenatti sentenced to 2.5 years in prison for                https://keyt.com/politics/cnn‐us‐
                                       attempting to extort Nike                                            politics/2021/07/08/michael‐avenatti‐sentenced‐to‐30‐
                                                                                                            months‐in‐prison‐for‐attempting‐to‐extort‐nike/

15   07/08/21 keyt                     Lawyer Michael Avenatti sentenced to 2 1/2 years in prison           https://keyt.com/news/national‐world/2021/07/08/lawyer‐
                                       for Nike extortion attempt                                           michael‐avenatti‐sentenced‐to‐2‐1‐2‐years‐in‐prison‐for‐
                                                                                                            nike‐extortion‐attempt/

16   07/08/21 kyma                     Michael Avenatti sentenced to 2.5 years in prison for                https://kyma.com/cnn‐us‐politics/2021/07/08/michael‐
                                       attempting to extort Nike                                            avenatti‐sentenced‐to‐30‐months‐in‐prison‐for‐attempting‐
                                                                                                            to‐extort‐nike/

17   07/08/21 kyma                     ‘More problems ahead’: Ex‐prosector says it’s not over for           https://kyma.com/videor/2021/07/08/more‐problems‐
                                       Avenatti                                                             ahead‐ex‐prosector‐says‐its‐not‐over‐for‐avenatti/

18   07/08/21 Imperial Valley Press    Lawyer Michael Avenatti sentenced to 2 1/2 years in prison           https://www.ivpressonline.com/news/nation/lawyer‐
                                       for Nike extortion attempt                                           michael‐avenatti‐sentenced‐to‐2‐1‐2‐years‐in‐prison‐for‐
                                                                                                            nike‐extortion‐attempt/article_dd2ebaf4‐ecc3‐50fd‐bd02‐
                                                                                                            f8f03fd39b9d.html

19   07/08/21 The Sun                  Avenatti sentenced to 30 months for extortion attempt                https://www.sbsun.com/?s=Michael+Avenatti&orderby=da
                                                                                                            te&order=desc
20   07/08/21 San Bernardino Today Avenatti sentenced to 30 months for extortion attempt                    https://sanbernardino.today/ca/san‐bernardino‐
                                                                                                            news/avenatti‐sentenced‐30‐months‐extortion‐attempt

21   07/09/21 SLO The Tribune          Avenatti sentenced to 2 1/2 years in prison for extortion            https://www.sanluisobispo.com/search/?q=Michael+Avena
                                                                                                            tti

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                                                  EXAMPLES OF AVENATTI PRESS COVERAGE
                                                           July 8 ‐ July 11, 2021

22   07/08/21 SLO The Tribune       Lawyer Michael Avenatti to spend 30 months in prison for           https://www.sanluisobispo.com/news/nation‐
                                    Nike shakedown                                                     world/national/article252657338.html
23   07/08/21 KSBY                  Michael Avenatti sentenced to 2 ½ years in prison for              https://www.ksby.com/news/national‐politics/michael‐
                                    extorting Nike                                                     avenatti‐sentenced‐to‐2‐%C2%BD‐years‐in‐prison‐for‐
                                                                                                       extorting‐nike
24   07/08/21 The San Diego Union   Lawyer Michael Avenatti sentenced to 2 1/2 years in prison         https://www.sandiegouniontribune.com/news/nation‐
              Tribune               for Nike extortion attempt                                         world/story/2021‐07‐08/lawyer‐michael‐avenatti‐
                                                                                                       sentenced‐to‐2‐1‐2‐years‐in‐prison‐for‐nike‐extortion‐
                                                                                                       attempt
25   07/08/21 The San Diego Union   Michael Avenatti faces sentencing in Nike extortion scheme         https://www.sandiegouniontribune.com/entertainment/na
              Tribune                                                                                  tional/story/2021‐07‐07/michael‐avenatti‐faces‐sentencing‐
                                                                                                       in‐nike‐extortion‐scheme

26   07/08/21 KUSI News             Lawyer Michael Avenatti sentenced to 2 1/2 years in prison         https://www.kusi.com/i/lawyer‐michael‐avenatti‐
                                    for Nike extortion attempt                                         sentenced‐to‐2‐1‐2‐years‐in‐prison‐for‐nike‐extortion‐
                                                                                                       attempt/
27   07/08/21 NBC San Diego 7       Avenatti Sentenced to 2 1/2 Years in Prison for Extortion          https://www.nbcsandiego.com/news/national‐
                                                                                                       international/michael‐avenatti‐faces‐sentencing‐in‐nike‐
                                                                                                       extortion‐scheme/2650560/

28   07/08/21 ABC 10 News SD        Michael Avenatti sentenced to 2 ½ years in prison for              https://www.10news.com/news/national‐politics/michael‐
                                    extorting Nike                                                     avenatti‐sentenced‐to‐2‐%C2%BD‐years‐in‐prison‐for‐
                                                                                                       extorting‐nike
29   07/08/21 SFGate                Avenatti sentenced to 2 1/2 years in prison for extortion          https://www.sfgate.com/news/article/Michael‐Avenatti‐
                                                                                                       faces‐sentencing‐in‐Nike‐16300177.php

30   07/08/21 SFGate                Michael Avenatti Sentenced to 30 Months in Prison for Nike https://www.sfgate.com/entertainment/article/Michael‐
              UPDATED               Extortion ‐ Disgraced celebrity lawyer faced up to 11 years in Avenatti‐Sentenced‐to‐30‐Months‐in‐Prison‐16301896.php
                                    prison following conviction on three federal charges in February
                                    2020
31   07/08/21 SFGate                Avenatti, Stormy Daniels' former attorney, sentenced to            https://www.sfgate.com/news/article/Avenatti‐exabogado‐
                                    prison                                                             de‐Stormy‐Daniels‐16302337.php
32   07/08/21 US News               Avenatti Sentenced to 2 1/2 Years in Prison for Extortion          https://www.usnews.com/news/business/articles/2021‐07‐
                                                                                                       08/michael‐avenatti‐faces‐sentencing‐in‐nike‐extortion‐
                                                                                                       scheme?rec‐type=sailthru




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33   07/08/21 Bleach Report         Michael Avenatti Sentenced to 2.5 Years In Prison for Trying https://bleacherreport.com/articles/10007354‐michael‐
                                    to Extort $25M from Nike                                     avenatti‐sentenced‐to‐25‐years‐in‐prison‐for‐trying‐to‐
                                                                                                          extort‐25m‐from‐nike
34   07/08/21 syracuse.com          Stormy Daniels’ lawyer Michael Avenatti sentenced to prison https://www.syracuse.com/us‐news/2021/07/stormy‐
                                    for trying to extort Nike                                   daniels‐lawyer‐michael‐avenatti‐sentenced‐to‐prison‐for‐
                                                                                                          trying‐to‐extort‐nike.html

35   07/08/21 NY Times              Michael Avenatti Sentenced to Two and a Half Years in Nike https://www.nytimes.com/2021/07/08/sports/michael‐
                                    Extortion Case ‐ The lawyer, who once represented Stormy   avenatti‐prison‐nike.html
                                    Daniels, was found guilty in February 2020 of trying to extort more
                                    than $20 million from Nike.
36   07/08/21 Breitbart             Michael Avenatti Sentenced to 30 Months in Prison for     https://www.breitbart.com/politics/2021/07/08/michael‐
                                    Trying to Extort Nike                                     avenatti‐sentenced‐to‐30‐months‐in‐prison‐for‐trying‐to‐
                                                                                              extort‐nike/
37   07/08/21 Evening Standard      Michael Avenatti: Stormy Daniels’ former lawyer and Trump https://www.standard.co.uk/news/world/michael‐avenatti‐
                                    foe jailed for trying to extort millions from Nike        lawyer‐jailed‐extort‐nike‐stormy‐daniels‐donald‐trump‐
                                                                                              b944881.html
38   07/08/21 NewDaily              Stormy Daniels’ lawyer jailed for $36m extortion attempt              https://thenewdaily.com.au/news/world/us‐
                                                                                                          news/2021/07/09/stormy‐daniels‐lawyer‐jailed/
39   07/08/21 The Sun               JUST BLEW IT Michael Avenatti CRIES as he’s sentenced to 2‐           https://www.thesun.co.uk/news/15537486/michael‐
                                    and‐a‐half years for trying to extort Nike after ‘becoming            avenatti‐cries‐sentenced‐2‐half‐years/
                                    drunk on power’
40   07/08/21 NBC News              Michael Avenatti sentenced to 2½ years behind bars for Nike           https://www.nbcnews.com/news/amp/ncna1273343
                                    extortion threat
41   07/08/21 The Washington Post   Michael Avenatti, former Stormy Daniels lawyer, sentenced             https://www.washingtonpost.com/national‐
                                    to 30 months in Nike extortion case                                   security/avenatti‐sentence‐nike‐
                                                                                                          trump/2021/07/08/149d95e8‐df58‐11eb‐9f54‐
                                                                                                          7eee10b5fcd2 story.html
42   07/08/21 NBC12                 Avenatti sentenced to 2 1/2 years in prison for extortion             https://www.nbc12.com/2021/07/08/michael‐avenatti‐
                                                                                                          faces‐sentencing‐nike‐extortion‐scheme/

43   07/08/21 AP                    Michael Avenatti sentenced to 30 months in prison for                 www.politico.com/news/michael‐avenatti
                                    extortion ‐ A jury in early 2020 convicted Avenatti of charges
                                    including attempted extortion and honest services fraud for his
                                    dealings with Nike.


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44   07/08/21 CNN                Michael Avenatti sentenced to 2.5 years in prison for            https://www.cnn.com/2021/07/08/politics/michael‐
                                 attempting to extort Nike                                        avenatti‐prison‐nike‐extortion/index.html

45   07/08/21 FOX News           Ex‐CNN regular Michael Avenatti's fall from stardom              https://www.foxnews.com/media/ex‐cnn‐regular‐michael‐
                                 complete as he gets prison time for Nike extortion plot          avenattis‐fall‐from‐stardom‐complete‐as‐he‐gets‐prison‐
                                 Disgraced lawyer also faces trials in separate cases in Los      time‐for‐nike‐extortion‐plot
                                 Angeles and New York

46   07/08/21 WSJ                Michael Avenatti Sentenced to 2 1/2 Years for Trying to          https://www.wsj.com/amp/articles/michael‐avenatti‐faces‐
                                 Extort Nike ‐ The prison term caps a public downfall for the     sentencing‐for‐trying‐to‐extort‐millions‐from‐nike‐
                                 California lawyer who represented Stormy Daniels in her legal    11625743801
                                 battles with former President Donald Trump
47   07/08/21 WAGMTV             Avenatti sentenced to 2 1/2 years in prison for extortion        https://www.wagmtv.com/2021/07/08/michael‐avenatti‐
                                                                                                  faces‐sentencing‐nike‐extortion‐scheme/

48   07/08/21 Boston Globe       Michael Avenatti sentenced to 2 1/2 years in prison for          https://www.bostonglobe.com/2021/07/08/business/aven
                                 extortion                                                        atti‐sentenced‐25‐years‐prison‐extortion/

49   07/08/21 WRCBTV             Michael Avenatti sentenced to 30 months in prison for            https://www.wrcbtv.com/story/44269035/michael‐
                                 attempting to extort Nike ‐ Avenatti openly wept when he         avenatti‐sentenced‐to‐30‐months‐in‐prison‐for‐attempting‐
                                 spoke to the court on Thursday.                                  to‐extort‐nike
50   07/08/21 CBSNews            Michael Avenatti sentenced to 2 1/2 years in prison for Nike     https://www.cbsnews.com/news/michael‐avenatti‐
                                 extortion scheme                                                 sentence‐nike‐extortion/
51   07/08/21 CBS NY             Lawyer Michael Avenatti Sentenced To 2 And A Half Years In       https://newyork.cbslocal.com/2021/07/08/michael‐
                                 Prison For Trying To Extort Nike                                 avenatti‐prison‐nike‐extortion/
52   07/08/21 The Hill           Michael Avenatti sentenced to 30 months in Nike extortion        https://thehill.com/regulation/court‐battles/562132‐
                                 case                                                             michael‐avenatti‐sentenced‐to‐30‐months‐in‐prison‐in‐nike‐
                                                                                                  extortion
53   07/08/21 MarketWatch        Michael Avenatti sentenced to 2 1/2 years in prison for          https://www.marketwatch.com/story/michael‐avenatti‐to‐
                                 trying to extort $25 million from Nike. Avenatti, 50, gained     be‐sentenced‐today‐for‐trying‐to‐extort‐millions‐of‐dollars‐
                                 fame representing porn star Stormy Daniels in lawsuits against   from‐nike‐01625765166
                                 President Donald Trump
54   07/08/21 Dakota NewsNow     Avenatti sentenced to 2 1/2 years in prison for extortion        https://www.dakotanewsnow.com/2021/07/08/michael‐
                                                                                                  avenatti‐faces‐sentencing‐nike‐extortion‐scheme/



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55   07/08/21 ABC7                 Avenatti sentenced to 2 1/2 years in prison for extortion               https://www.mysuncoast.com/2021/07/08/michael‐
                                                                                                           avenatti‐faces‐sentencing‐nike‐extortion‐
                                                                                                           scheme/?outputType=apps
56   07/08/21 Fox 19 Now           Avenatti sentenced to 2 1/2 years in prison for extortion               https://www.fox19.com/2021/07/08/michael‐avenatti‐
                                                                                                           faces‐sentencing‐nike‐extortion‐scheme/

57   07/08/21 7WSAW‐TV             Avenatti sentenced to 2 1/2 years in prison for extortion               https://www.wsaw.com/2021/07/08/michael‐avenatti‐
                                                                                                           faces‐sentencing‐nike‐extortion‐scheme/

58   07/08/21 13WIBW               Avenatti sentenced to 2 1/2 years in prison for extortion               https://www.wibw.com/2021/07/08/michael‐avenatti‐
                                                                                                           faces‐sentencing‐nike‐extortion‐scheme/

59   07/08/21 Yahoo Sports         Michael Avenatti sentenced to 2‐1/2 years prison for Nike               https://sports.yahoo.com/news/michael‐avenatti‐gets‐2‐1‐
                                   extortion scheme                                                        185934800.html
60   07/08/21 Yahoo Finance        Michael Avenatti Gets 2.5‐Year Prison Sentence in Nike                  https://finance.yahoo.com/news/michael‐avenatti‐gets‐2‐5‐
                                   Extortion Case                                                          204447414.html
61   07/08/21 The Guardian         Michael Avenatti sentenced to two and a half years in Nike              https://www.theguardian.com/us‐
                                   extortion case                                                          news/2021/jul/08/michael‐avenatti‐sentenced‐two‐and‐a‐
                                                                                                           half‐years‐nike‐extortion‐case

62   07/08/21 Forbes               Michael Avenatti Sentenced To 30 Months In Prison Over                  https://www.forbes.com/sites/joewalsh/2021/07/08/mich
                                   Nike Extortion Case                                                     ael‐avenatti‐sentenced‐to‐30‐months‐in‐prison‐over‐nike‐
                                                                                                           extortion‐case/?sh=55d6d9302d55

63   07/08/21 Axios                Michael Avenatti sentenced to 2.5 years in prison in Nike               https://www.axios.com/michael‐avenatti‐sentenced‐prison‐
                                   extortion case                                                          c7dbfda6‐efae‐4fe4‐884d‐3f01360bf14e.html

64   07/08/21 NCAA                 Michael Avenatti sentenced to 2.5 years in jail over                    https://awfulannouncing.com/ncaa/michael‐avenatti‐
                                   attempted extortion of Nike with threatened bad publicity,              sentenced‐over‐attempted‐extortion‐of‐nike.html
                                   "[Avenatti] hijacked his client’s claims, and he used those claims to
                                   further his own agenda, which was to extort millions of dollars
                                   from Nike for himself."
65   07/08/21 BuzzFeed News        Michael Avenatti Was Sentenced To Two And A Half Years In https://www.buzzfeednews.com/article/salvadorhernande
                                   Prison For Trying To Extort Nike, "He had become someone  z/michael‐avenatti‐prison
                                   who operated as if the laws and the rules that applied to everyone
                                   else didn't apply to him," the judge said Thursday.


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66   07/08/21 FOX News                 Geraldo: Media 'looks foolish' for promoting 'loathsome          https://www.foxnews.com/media/geraldo‐media‐looks‐
                                       creature' Michael Avenatti, as attorney sentenced                foolish‐for‐promoting‐loathsome‐creature‐michael‐avenatti‐
                                                                                                        as‐attorney‐sentenced

67   07/08/21 ABCNews                  Michael Avenatti, one‐time foe of President Trump,         https://abcnews.go.com/US/michael‐avenatti‐time‐foe‐
                                       sentenced to 30 months in prison for Nike extortion scheme president‐trump‐sentenced‐30/story?id=78738850

68   07/08/21 American Greatness       ‘Creepy Porn Lawyer’ Michael Avenatti Cries As He’s         https://amgreatness.com/2021/07/08/creepy‐porn‐lawyer‐
                                       Sentenced to Prison for 30 Months For Trying to Extort Nike michael‐avenatti‐cries‐as‐hes‐sentenced‐to‐prison‐for‐30‐
                                                                                                        months‐for‐trying‐to‐extort‐nike/
69   07/08/21 NTD                      Anti‐Trump Lawyer Michael Avenatti Sentenced to More             https://www.ntd.com/anti‐trump‐lawyer‐michael‐avenatti‐
                                       Than 2 Years in Prison                                           sentenced‐to‐more‐than‐2‐years‐in‐prison_639906.html

70   07/08/21 FOX News                 MICHAEL AVENATTI Published 11 mins ago                                https://www.foxnews.com/us/stormy‐daniels‐reacts‐
                                       Stormy Daniels reacts to Michael Avenatti's sentencing: 'I realized I michael‐avenattis‐sentencing
                                       too became his victim' ‐ Avenatti allegedly embezzled $300,000
                                       from Daniels in 2018
71   07/08/21 FOX News                 Francey Hakes reacts to Avenatti sentencing ‐ Former federal https://www.foxnews.com/category/person/michael‐
                                       prosecutor joins 'Tucker Carlson Tonight' to react                    avenatti
72   07/08/21 Mediaite                 Humiliating Video Montage of Slobbering Media Love Affair https://c.newsnow.co.uk/A/1086966874?‐42455:28951
                                       with Michael Avenatti is. . . . Yikes
73   07/08/21 AP/Reuters               Michael Avenatti, lawyer who represented Stormy Daniels          https://www.abc.net.au/news/2021‐07‐09/michael‐
                                       against Donald Trump, jailed for attempted Nike extortion        avenatti‐stormy‐daniels‐lawyer‐jailed‐nike‐
                                                                                                        extortion/100280308
74   07/08/21 HYPEBEAST                Celebrity Lawyer Michael Avenatti Sentenced to 2.5 Years in https://hypebeast.com/2021/7/michael‐avenatti‐nike‐
                                       Jail for Attempting To Extort Nike ‐ He is said to have     extortion‐2‐5‐years‐jail
                                       demanded up to $25 million USD
75   07/08/21 International Business Avenatti vs. Nike: Celebrity Lawyer Sentenced To 30 Months https://www.ibtimes.com/avenatti‐vs‐nike‐celebrity‐lawyer‐
              Times                  In Prison For Extortion                                    sentenced‐30‐months‐prison‐extortion‐3247677

76   07/08/21 Mediaite                 Greg Gutfeld Asks If Brian Stelter Will Visit Michael Avenatti https://c.newsnow.co.uk/A/1086956161?‐42455:28951
                                       in Prison, and Jesse Watters Replies, 'Conjugal Visit'

77   07/08/21 Voice of America         Avenatti Sentenced to 2½ Years in Extortion Attempt              https://www.voanews.com/usa/avenatti‐sentenced‐2‐12‐
                                                                                                        years‐extortion‐attempt

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78   07/08/21 Chicago Tribune         Michael Avenatti, lawyer who once represented Stormy            https://www.chicagotribune.com/nation‐world/ct‐aud‐nw‐
                                      Daniels, sentenced to 2 1/2 years in prison for trying to       michael‐avenatti‐lawyer‐prison‐nike‐extortion‐20210708‐
                                      extort up to $25 million from Nike                              kexi2hafmvd43cop242d6alzo4‐story.html

79   07/08/21 FOX News                Jonathan Turley calls 2.5 year sentence of former law           https://www.foxnews.com/media/jonathan‐turley‐calls‐2‐5‐
                                      student Avenatti a 'tragedy of epic proportions' ‐ Avenatti's   year‐sentencing‐of‐former‐law‐student‐avenatti‐a‐tragedy‐
                                      thirst for fame became 'addictive,' former law professor says   of‐epic‐porportions

80   07/08/21 Washington Examiner The press’s Avenatti humiliation is 100% of their own making https://www.washingtonexaminer.com/opinion/the‐presss‐
                                                                                                      avenatti‐humiliation‐is‐100‐of‐their‐own‐making

81   07/08/21 FOX Business            Nike has no sympathy for Avenatti after extortion sentence ‐ https://www.foxbusiness.com/markets/nike‐response‐
                                      Avenatti was sentenced to prison for attempting to extort the   avenatti‐extortion‐sentence
                                      sports apparel giant
82   07/08/21 FOX Business            Michael Avenatti sentenced to 2.5 years in prison in Nike       https://www.foxbusiness.com/politics/michael‐avenatti‐
                                      extortion case ‐ Avenatti convicted of trying to extort up to   sentenced‐prison‐nike
                                      $25 million from sportswear giant
83   07/08/21 Twitchy                 ‘DAY MADE’: Michael Avenatti crying like a B*TCH during         https://twitchy.com/samj‐3930/2021/07/08/day‐made‐
                                      speech before sentencing is like watching KARMA in real‐        michael‐avenatti‐crying‐like‐a‐btch‐during‐speech‐before‐
                                      time                                                            sentencing‐is‐like‐watching‐karma‐in‐real‐time/

84   07/08/21 NBC New York            Avenatti Sentenced to 2 1/2 Years in Prison for Extortion           https://www.nbcnewyork.com/news/local/michael‐
                                      Avenatti was convicted on charges that he tried to extort up to $25 avenatti‐faces‐sentencing‐in‐nike‐extortion‐
                                      million from Nike                                                   scheme/3144316/

85   07/08/21 Twitchy                 Here are some reminders of just how much the media              https://twitchy.com/dougp‐3137/2021/07/08/here‐are‐
                                      fawned over prison‐bound Michael Avenatti                       some‐reminders‐of‐just‐how‐much‐the‐media‐fawned‐over‐
                                                                                                      prison‐bound‐michael‐avenatti/

86   07/08/21 Twitchy                 BASTA‐HAHAHA! Same mainstream media that spent years            https://twitchy.com/samj‐3930/2021/07/08/basta‐hahaha‐
                                      SLOBBERING all over Avenatti now refuses to say his name        same‐mainstream‐media‐that‐spent‐years‐slobbering‐all‐
                                      and ROFL                                                        over‐avenatti‐now‐refuses‐to‐say‐his‐name‐and‐rofl/




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87   07/08/21 Webnews@metro         Donald Trump enemy Michael Avenatti sentenced to 2.5             https://metro.co.uk/2021/07/08/donald‐trump‐foe‐
                                    years in prison for Nike extortion                               michael‐avenatti‐gets‐to‐2‐5‐years‐for‐nike‐extortion‐
                                                                                                     14898162/?ito=newsnow‐feed

88   07/08/21 Sportico              NIKE EXTORTIONIST AVENATTI SENTENCED TO 2.5 YEARS IN https://www.sportico.com/law/analysis/2021/michael‐
                                    PRISON                                               avenatti‐prison‐sentence‐1234633892/

89   07/08/21 Front Office Sports   Avenatti Sentenced to 2.5 Years in Prison in Nike Extortion      https://frontofficesports.com/michael‐avenatti/
                                    Case
90   07/08/21 NPR                   Michael Avenatti, Stormy Daniels' Ex‐Lawyer, Heads To            https://www.npr.org/2021/07/08/1014357602/michael‐
                                    Prison For Attempted Extortion                                   avenatti‐stormy‐daniels‐prison‐nike

91   07/08/21 United Press          Michael Avenatti sentenced to 2 1/2 years in prison              https://www.upi.com/Top_News/US/2021/07/08/Michael‐
              International                                                                          Avenatti‐sentence/2331625769000/?ur3=1

92   07/08/21 Indy100               Michael Avenatti just got jailed for more than two years ‐       https://www.indy100.com/news/michael‐avenatti‐jailed‐tv‐
                                    here’s how dramatic his fall from grace has been                 appearances‐b1880727


93   07/08/21 CNBC                  Disgraced Trump foe Michael Avenatti weeps as he is              https://www.cnbc.com/2021/07/08/michael‐avenatti‐
                                    sentenced to 2.5 years in prison for Nike extortion scheme       sentencing‐nike‐extortion‐case.html


94   07/08/21 National Review       Michael Avenatti Sentenced to 2.5 Years in Prison for Nike        https://www.nationalreview.com/news/michael‐avenatti‐
                                    Extortion Scheme                                                  sentenced‐to‐2‐5‐years‐in‐prison‐for‐nike‐extortion‐
                                                                                                      scheme/
95   07/08/21 Women's Wear Daily    Michael Avenatti Gets 2.5‐Year Prison Sentence in Nike            https://wwd.com/business‐news/legal/michael‐avenatti‐
              WWD                   Extortion Case, The lawyer and one‐time Trump antagonist was      gets‐2‐5‐year‐prison‐sentence‐in‐nike‐extortion‐case‐
                                    sentenced in New York for attempting to extort Nike of some $22.5 1234877918/
                                    million.
96   07/08/21 Human Events          BREAKING: Stormy Daniels’ Former Attorney Sentenced to https://humanevents.com/2021/07/08/breaking‐stormy‐
                                    2.5 Years in Prison for Nike Scheme                               daniels‐former‐attorney‐sentenced‐to‐2‐5‐years‐in‐prison‐
                                                                                                      for‐nike‐scheme/
97   07/08/21 7Denver               Michael Avenatti sentenced to 2 ½ years in prison for             https://www.thedenverchannel.com/news/national‐
                                    extorting Nike                                                    politics/michael‐avenatti‐sentenced‐to‐2‐%C2%BD‐years‐in‐
                                                                                                      prison‐for‐extorting‐nike




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98    07/08/21 USA Today            Michael Avenatti sentenced in 25M Nike extortion plot               https://www.usatoday.com/story/news/2021/07/08/micha
                                                                                                        el‐avenatti‐stormy‐daniels‐lawyer‐sentenced‐25‐m‐nike‐
                                                                                                        plot/7906843002/

99    07/08/21 The Week             Michael Avenatti tearfully tells judge 'I alone have destroyed https://theweek.com/news/1002423/michael‐avenatti‐
                                    my career' at sentencing for Nike extortion plot               tearfully‐tells‐judge‐i‐alone‐have‐destroyed‐my‐career‐at‐
                                                                                                        sentencing
100   07/08/21 Pittsburgh Tribune   Lawyer Michael Avenatti sentenced to 2 1/2 years in prison          https://triblive.com/news/world/lawyer‐michael‐avenatti‐
                                    for extortion                                                       sentenced‐to‐2‐1‐2‐years‐in‐prison‐for‐extortion/

101   07/08/21 The Epoch Times      Anti‐Trump Lawyer Michael Avenatti Sentenced to More                https://www.theepochtimes.com/anti‐trump‐lawyer‐
                                    Than 2 Years in Prison                                              michael‐avenatti‐sentenced‐to‐more‐than‐2‐years‐in‐
                                                                                                        prison 3892610.html
102   07/08/21 CNN                  More problems ahead': Ex‐prosector says it's not over for           https://us.cnn.com/videos/us/2021/07/08/avenatti‐
                                    Avenatti ‐ A federal judge sentenced celebrity lawyer turned        sentencing‐nike‐extortion‐vpx.cnn
                                    criminal defendant Michael Avenatti to 30 months in prison for
                                    attempting to extort millions of dollars from Nike
103   07/08/21 NBC Sports           Michael Avenatti receives 30‐month prison sentence                  https://profootballtalk.nbcsports.com/2021/07/08/michael‐
                                                                                                        avenatti‐receives‐30‐month‐prison‐sentence/

104   07/08/21 Courthouse News      Threatening to Extort Nike Will Put Avenatti Away for 2.5           https://www.courthousenews.com/threatening‐to‐extort‐
               Service              Years, Michael Avenatti's epic fall from nightly news heights       nike‐will‐put‐avenatti‐away‐for‐2‐5‐years/
                                    continued Thursday with the first of three indictments facing the
                                    celebrity attorney ending in a federal prison sentence.

105   07/08/21 BBC News             Michael Avenatti: Celebrity lawyer sentenced to 30 months           https://www.bbc.com/news/world‐us‐canada‐57768443
                                    in prison for extortion
106   07/08/21 Talking Points       Avenatti Sentenced To 2.5 Years In Prison For Nike Extortion        https://talkingpointsmemo.com/news/avenatti‐sentencing‐
                                    Scheme                                                              nike‐extortion
107   07/08/21 DOJ USAO SDNY        Michael Avenatti Sentenced To Over Two Years In Prison For          https://www.justice.gov/usao‐sdny/pr/michael‐avenatti‐
                                    Attempting To Extort Nike And For Defrauding His Client             sentenced‐over‐two‐years‐prison‐attempting‐extort‐nike‐
                                                                                                        and‐defrauding

108   07/08/21 Above The Law        Above The Law’s 2018 Lawyer Of The Year Sentenced To 30             https://abovethelaw.com/2021/07/above‐the‐laws‐2018‐
                                    Months ‐ Michael Avenatti has gone on quite a journey over the      lawyer‐of‐the‐year‐sentenced‐to‐30‐months/
                                    past couple years

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109   07/08/21 The Federalist       Creepy Porn Lawyer Michael Avenatti Sentenced To Prison      https://thefederalist.com/2021/07/08/creepy‐porn‐lawyer‐
                                    For Trying To Extort $20M From Nike                          michael‐avenatti‐sentenced‐to‐prison‐for‐trying‐to‐extort‐
                                                                                                 20m‐from‐nike/
110   07/08/21 Footwear News        Michael Avenatti Sentenced to 2 1/2 Years in Prison for Nike https://footwearnews.com/2021/business/legal‐
                                    Extortion Case                                               news/michael‐avenatti‐nike‐extortion‐jail‐sentence‐
                                                                                                 1203157883/
111   07/08/21 New York Post        Michael Avenatti sentenced to 2½ years in Nike extortion     https://nypost.com/2021/07/08/michael‐avenatti‐
                                    case                                                         sentenced‐to‐2‐1‐2‐years‐in‐nike‐extortion‐case/


112   07/08/21 The Wrap             Michael Avenatti Sentenced to 2 1/2 years in Prison for      https://www.thewrap.com/avenatti‐sentencing‐nike/
                                    Attempted Nike Extortion ‐ “Mr. Avenatti had become drunk on
                                    the power of his platform, or what he perceived the power of his
                                    platform to be,” Judge Paul Gardephe said

113   07/08/21 N&G                  Avenatti Headed to Prison For Extorting Nike                         https://www.newsandguts.com/avenatti‐headed‐to‐prison‐
               News And Guts                                                                             for‐extorting‐nike/
114   07/08/21 Chicago Sun Times    Michael Avenatti sentenced to 2 1/2 years in prison for              https://chicago.suntimes.com/2021/7/8/22568939/michae
                                    extortion ‐ Avenatti, 50, was convicted last year of charges         l‐avenatti‐sentenced‐to‐2‐1‐2‐years‐in‐prison‐for‐extortion‐
                                    including attempted extortion and honest services fraud after a      nike
                                    jury concluded he tried to extort millions of dollars from Nike.

115   07/08/21 Sports Illustrated   Michael Avenatti Sentenced to 30 Months in Prison in Nike            https://www.si.com/college/2021/07/08/michael‐avenatti‐
                                    Extortion Case                                                       sentenced‐30‐months‐prison‐nike‐extortion‐case

116   07/08/21 Politico             Michael Avenatti sentenced to 30 months in prison for                https://www.politico.com/news/2021/07/08/michael‐
                                    extortion ‐ A jury in early 2020 convicted Avenatti of charges       avenatti‐prison‐sentence‐nike‐extortion‐498817
                                    including attempted extortion and honest services fraud for his
                                    dealings with Nike.
117   07/08/21 Just the News        Former Stormy Daniels attorney Avenatti sentenced to two             https://justthenews.com/government/courts‐law/avenatti‐
                                    and a half years in prison over Nike scheme ‐ Avenatti had           apparently‐tears‐he‐sentenced‐two‐and‐half‐years‐prison‐
                                    previously been an attorney for Stormy Daniels in her suit against   over‐nike
                                    former President Donald Trump.
118   07/08/21 RollingStone         Michael Avenatti Sentenced to 30 Months in Prison for Nike https://www.rollingstone.com/culture/culture‐
                                    Extortion ‐ Disgraced celebrity lawyer faced up to 11 years in news/michael‐avenatti‐sentenced‐30‐months‐prison‐nike‐
                                    prison following conviction on three federal charges in February     extortion‐1194549/
                                    2020

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119   07/08/21 Business Insider        Michael Avenatti sentenced to 2 1/2 years in prison for Nike https://www.businessinsider.com/michael‐avenatti‐
                                       extortion scheme                                             sentenced‐nike‐extortion‐scheme‐30‐months‐prison‐2021‐
                                                                                                     7
120   07/08/21 Rueters                 Michael Avenatti sentenced to 2‐1/2 years prison for Nike     https://www.reuters.com/world/us/michael‐avenatti‐gets‐
                                       extortion scheme                                              2‐12‐years‐prison‐nike‐extortion‐scheme‐2021‐07‐
                                                                                                     08/?rpc=401&
121   07/08/21 TMZ                     MICHAEL AVENATTI SENTENCED TO 30 MONTHS In Nike               https://www.tmz.com/2021/07/08/michael‐avenatti‐
                                       Extortion Scheme Case                                         sentenced‐nike‐extortion‐scheme‐case‐30‐months/

122   07/08/21 Political Wire          Michael Avenatti Sentenced to 30 Months In Prison             https://politicalwire.com/2021/07/08/michael‐avenatti‐
                                                                                                     sentenced‐to‐30‐months‐in‐prison/
123   07/08/21 Law360                  Avenatti Gets 2½ Years In Prison For Nike Extortion           https://www.law360.com/articles/1401175
124   07/08/21 The Herald              Michael Avenatti faces sentencing in Nike extortion scheme    https://www.heraldonline.com/entertainment/article2526
                                                                                                     43248.html
125   07/08/21 Daily Beast             Avenatti Cries as He’s Sentenced to Prison for ‘Outrageous’   https://www.thedailybeast.com/michael‐avenatti‐gets‐two‐
                                       Extortion Scheme                                              and‐a‐half‐years‐in‐prison‐for‐extorting‐nike

126   07/08/21 Law & Crime             TV and Twitter, Your Honor, Mean Nothing': Tearful Fallen     https://lawandcrime.com/high‐profile/tv‐and‐twitter‐your‐
                                       Trump Foe Michael Avenatti Gets Two and Half Year             honor‐mean‐nothing‐tearful‐fallen‐trump‐foe‐michael‐
                                       Sentence in Nike Extortion Case.                              avenatti‐receives‐two‐and‐half‐year‐sentence‐for‐extorting‐
                                                                                                     nike/
127   07/08/21 Daily Caller            Michael Avenatti Sentenced In Nike Extortion Scheme           https://dailycaller.com/2021/07/08/michael‐avenatti‐
                                                                                                     sentenced‐prison‐nike‐extortion/
128   07/08/21 The Bellingham Herald Michael Avenatti faces sentencing in Nike extortion scheme https://www.bellinghamherald.com/entertainment/celebri
                                                                                                     ties/article252643248.html
129   07/08/21 16NewsNow WNDU          Avenatti sentenced to 2 1/2 years in prison for extortion     https://www.wndu.com/2021/07/08/michael‐avenatti‐
                                                                                                     faces‐sentencing‐nike‐extortion‐scheme/
130   07/08/21 WTVM 9ABC               Avenatti sentenced to 2 1/2 years in prison for extortion     https://www.wtvm.com/2021/07/08/michael‐avenatti‐
                                                                                                     faces‐sentencing‐nike‐extortion‐scheme/
131   07/08/21 KBTX3                   Avenatti sentenced to 2 1/2 years in prison for extortion     https://www.kbtx.com/2021/07/08/michael‐avenatti‐faces‐
                                                                                                     sentencing‐nike‐extortion‐scheme/
132   07/08/21 Valley News Live        'Avenatti sentenced to 2 1/2 years in prison for extortion    https://www.valleynewslive.com/2021/07/08/michael‐
                                                                                                     avenatti‐faces‐sentencing‐nike‐extortion‐scheme/
133   07/08/21 KALB                    Avenatti sentenced to 2 1/2 years in prison for extortion     https://www.kalb.com/2021/07/08/michael‐avenatti‐faces‐
                                                                                                     sentencing‐nike‐extortion‐scheme/


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134   07/08/21 23WIFR               Avenatti sentenced to 2 1/2 years in prison for extortion             https://www.wifr.com/2021/07/08/michael‐avenatti‐faces‐
                                                                                                          sentencing‐nike‐extortion‐scheme/
135   07/08/21 WALB 10              Avenatti sentenced to 2 1/2 years in prison for extortion             https://www.walb.com/2021/07/08/michael‐avenatti‐faces‐
                                                                                                          sentencing‐nike‐extortion‐scheme/
136   07/08/21 Town and Country     Avenatti sentenced to 2 1/2 years in prison for extortion             https://www.townandcountrytoday.com/national‐
                                                                                                          business/avenatti‐sentenced‐to‐2‐12‐years‐in‐prison‐for‐
                                                                                                          extortion‐3941113
137   07/08/21 RMOTODAY             Avenatti sentenced to 2 1/2 years in prison for extortion             https://www.rmotoday.com/national‐business/avenatti‐
                                                                                                          sentenced‐to‐2‐12‐years‐in‐prison‐for‐extortion‐3941113

138   07/08/21 WSAZ                 Avenatti sentenced to 2 1/2 years in prison for extortion             https://www.wsaz.com/2021/07/08/michael‐avenatti‐faces‐
                                                                                                          sentencing‐nike‐extortion‐scheme/
139   07/08/21 KLTV7                Avenatti sentenced to 2 1/2 years in prison for extortion             https://www.kltv.com/2021/07/08/michael‐avenatti‐faces‐
                                                                                                          sentencing‐nike‐extortion‐scheme/
140   07/08/21 10WBNS               Michael Avenatti sentenced to 2 1/2 years in prison for Nike https://www.10tv.com/article/news/nation‐world/michael‐
                                    extortion scheme ‐ Lawyers said Avenatti threatened to do    avenatti‐sentencing‐nike‐extortion‐scheme/507‐50fdd5df‐
                                    billions of dollars of damage to Nike and then falsely tweeted that   6a75‐4f92‐9e42‐50b72aaab124
                                    criminal conduct at Nike reached the “highest levels.”

141   07/08/21 2 First Alert WBAY   Avenatti sentenced to 2 1/2 years in prison for extortion             https://www.wbay.com/2021/07/08/michael‐avenatti‐
                                                                                                          faces‐sentencing‐nike‐extortion‐scheme/
142   07/08/21 10 KFDA              Avenatti sentenced to 2 1/2 years in prison for extortion             https://www.newschannel10.com/2021/07/08/michael‐
                                                                                                          avenatti‐faces‐sentencing‐nike‐extortion‐scheme/

143   07/08/21 WILX10               Avenatti sentenced to 2 1/2 years in prison for extortion             https://www.wilx.com/2021/07/08/michael‐avenatti‐faces‐
                                                                                                          sentencing‐nike‐extortion‐scheme/
144   07/08/21 WKYT                 Avenatti sentenced to 2 1/2 years in prison for extortion             https://www.wkyt.com/2021/07/08/michael‐avenatti‐faces‐
                                                                                                          sentencing‐nike‐extortion‐scheme/
145   07/08/21 WWAY 3               Michael Avenatti sentenced to 2 1/2 years in prison for               https://www.wwaytv3.com/2021/07/08/michael‐avenatti‐
                                    extortion                                                             sentenced‐to‐2‐1‐2‐years‐in‐prison‐for‐extortion/

146   07/08/21 8 News Now           Avenatti sentenced to 2 1/2 years in prison for extortion             https://www.8newsnow.com/news/national‐news/michael‐
                                                                                                          avenatti‐faces‐sentencing‐in‐nike‐extortion‐scheme/




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147   07/08/21 NBC News           Michael Avenatti sentenced to 2½ years behind bars for Nike https://www.nbcnews.com/news/us‐news/michael‐
                                  extortion threat ‐ The pugnacious lawyer rose to fame       avenatti‐sentenced‐2‐1‐2‐years‐behind‐bars‐nike‐n1273343
                                  representing Stormy Daniels before he made illegal threats to
                                  expose the sports apparel giant.
148   07/08/21 KOTA TV            Avenatti sentenced to 2 1/2 years in prison for extortion          https://www.kotatv.com/2021/07/08/michael‐avenatti‐
                                                                                                     faces‐sentencing‐nike‐extortion‐scheme/
149   07/08/21 Twitter            Michael Avenatti, the brash California lawyer who publicly         https://mobile.twitter.com/seattletimes/status/141322087
               Seattle Times      sparred with then‐President Donald Trump, was sentenced            5361468418
                                  Thursday to 2 1/2 years in prison for trying to extort up to
                                  $25 million from Nike by threatening the company with bad
                                  publicity.
150   07/08/21 Twitter            Michael Avenatti sentenced to 2 1/2 years in Nike extortion        https://mobile.twitter.com/nypost/status/1413211486172
               New York Post      case                                                               979202
151   07/08/21 Twitter            NEW YORK (AP) ‐‐ Lawyer Michael Avenatti sentenced to 2            https://mobile.twitter.com/kfdmnews/status/1413214843
               KFDM News          1/2 years in prison for Nike extortion attempt.                    226689539


152   07/08/21 Yahoo News         Avenatti Cries as He’s Sentenced to Prison for ‘Outrageous’        https://news.yahoo.com/michael‐avenatti‐gets‐two‐half‐
                                  Extortion Scheme                                                   184917241.html
153   07/08/21 Aljazeera          Michael Avenatti sentenced to 2 1/2 years in prison for            https://www.aljazeera.com/news/2021/7/8/michael‐
                                  extortion                                                          avenatti‐sentenced‐to‐2‐1‐2‐years‐in‐prison‐for
154   07/08/21 The Right Scoop    BREAKING: CNN’s favorite anti‐Trumper just sentenced to            https://therightscoop.com/breaking‐cnns‐favorite‐anti‐
                                  2.5 years in PRISON                                                trumper‐just‐sentenced‐to‐2‐5‐years‐in‐prison/
155   07/08/21 The Right Scoop    Ted Cruz REACTS to Avenatti’s sentencing with a HUGE slam          https://therightscoop.com/ted‐cruz‐reacts‐to‐avenattis‐
                                  on the media                                                       sentencing‐with‐a‐huge‐slam‐on‐the‐media/

156   07/08/21 The Blaze          BREAKING: Disgraced Trump critic Michael Avenatti                  https://www.theblaze.com/news/michael‐avenatti‐
                                  sentenced to 2.5 years for attempted Nike shakedown                sentenced‐nike‐extortion
                                  NEWS ‐ The sentencing marks the conclusion of one of three
                                  criminal trials that the 50‐year‐old California lawyer is set to
                                  undergo

157   07/08/21 Flipboard          Michael Avenatti, Stormy Daniels' Ex‐Lawyer, Heads To              https://flipboard.com/article/michael‐avenatti‐stormy‐
                                  Prison For Attempted Extortion                                     daniels‐ex‐lawyer‐heads‐to‐prison‐for‐attempted‐extor/f‐
                                                                                                     f85e40234c%2Fnpr.org

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158   07/08/21 Washington Times      Avenatti sentenced to prison for Nike extortion                     https://www.washingtontimes.com/news/2021/jul/8/mich
                                                                                                         ael‐avenatti‐sentenced‐to‐prison‐for‐nike‐exto/

159   07/08/21 Crooks and Liars      Michael Avenatti Weeps As He's Sentenced For Nike                   https://crooksandliars.com/2021/07/michael‐avenatti‐
                                     Extortion ‐ The former Stormy Daniels lawyer tried for probation,   sentenced‐nike‐extortion
                                     but missed.
160   07/09/21 Breitbart             CBS’s Wax Admits Press ‘Collectively’ Failed in Michael             https://www.breitbart.com/clips/2021/07/09/cbss‐wax‐
                                     Avenatti Coverage — ‘Maybe We Went About Covering Him               admits‐press‐collectively‐failed‐in‐michael‐avenatti‐
                                     the Wrong Way’                                                      coverage‐maybe‐we‐went‐about‐covering‐him‐the‐wrong‐
                                                                                                         way/
161   07/09/21 Independent           Michael Avenatti weeps as he’s sentenced to 30 months for           https://www.independent.co.uk/news/world/americas/mic
                                     Nike extortion attempt ‐ Disgraced lawyer was sentenced to 30       hael‐avenatti‐weeps‐sentenced‐nike‐b1880721.html
                                     months over the $25 million blackmail scheme

162   07/09/21 Independent.ie        Lawyer to Stormy Daniels in Trump suit sent to prison for    https://www.independent.ie/world‐news/lawyer‐to‐stormy‐
                                     Nike extortion racket                                        daniels‐in‐trump‐suit‐sent‐to‐prisonfor‐nike‐extortion‐
                                                                                                  racket‐40632426.html
163   07/09/21 The Week              Lawyer of Stormy Daniels gets 2 years in jail for extortion. https://www.theweek.in/news/world/2021/07/09/lawyer‐
                                     The lawyer has been charged with trying to extort up to $25 of‐stormy‐daniels‐gets‐2‐years‐in‐jail‐for‐extortion.html
                                     million from Nike
164   07/09/21 Lawyer Monthly        MICHAEL AVENATTI SENTENCED TO 30 MONTHS IN PRISON           https://www.lawyer‐monthly.com/2021/07/michael‐
                                     FOR NIKE EXTORTION SCHEME                                   avenatti‐sentenced‐to‐30‐months‐in‐prison‐for‐nike‐
                                                                                                 extortion‐scheme/
165   07/09/21 Mint                  Michael Avenatti sentenced to 2 1/2 years for trying to     https://www.livemint.com/companies/people/michael‐
                                     extort Nike                                                 avenatti‐sentenced‐to‐2‐1‐2‐years‐for‐trying‐to‐extort‐nike‐
                                                                                                 11625820239005.html
166   07/09/21 Business of Fashion   Michael Avenatti Sentenaced For Nike Extortion Plot         https://www.businessoffashion.com/articles/retail/michael‐
               Professional          The two and a half year sentence was significant lower than avenatti‐sentenced‐to‐2‐12‐years‐for‐nike‐extortion‐plot
                                     what the government sought.
167   07/09/21 Scottish Legal News   US: Stormy Daniels lawyer jailed for trying to extort $25m          https://www.scottishlegal.com/article/us‐stormy‐daniels‐
                                     from Nike                                                           lawyer‐jailed‐for‐trying‐to‐extort‐25m‐from‐nike

168   07/09/21 HighSnobiety          CORRUPT LAWYER JAILED FOR TRYING TO EXTORT $25                      https://www.highsnobiety.com/p/avanetti‐nike/
                                     MILLION FROM NIKE, WEEPS IN COURT
169   07/09/21 Townhall              Creepy Anti‐Trump Porn Lawyer Is Heading to Prison                  https://townhall.com/tipsheet/mattvespa/2021/07/09/cre
                                                                                                         epy‐anti‐trump‐porn‐lawyer‐is‐heading‐to‐prison‐
                                                                                                         n2592248
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170   07/09/21 Raw Story            US celebrity lawyer Michael Avenatti gets 2.5 years for Nike https://www.rawstory.com/us‐celebrity‐lawyer‐avenatti‐
                                    extortion                                                    gets‐2‐5‐years‐for‐nike‐extortion/
171   07/09/21 Political Wire       Lessons for Democrats In Michael Avenatti’s Downfall         https://politicalwire.com/2021/07/09/lessons‐for‐
                                                                                                      democrats‐in‐michael‐avenattis‐downfall/
172   07/09/21 The Conservative     Democrats Creepy Porn Lawyer, Media Favorite and Former https://theconservativetreehouse.com/blog/2021/07/08/d
               Treehouse            Presidential Candidate, Michael Avenatti, Sentenced to 30 emocrats‐creepy‐porn‐lawyer‐media‐favorite‐and‐former‐
                                    Months Prison                                             presidential‐candidate‐michael‐avenatti‐sentenced‐to‐30‐
                                                                                                      months‐prison/
173   07/09/21 Slate                Celebrity Lawyer Michael Avenatti Sentenced to Prison for         https://slate.com/news‐and‐politics/2021/07/michael‐
                                    Nike Extortion                                                    avenatti‐prison‐nike‐extortion‐stormy‐daniels‐lawyer.html

174   07/09/21 American Lookout     REPORT: Anti‐Trump Lawyer Michael Avenatti Cried When             https://americanlookout.com/report‐anti‐trump‐lawyer‐
                                    Judge Sentenced Him To 2.5 Years In Jail                          michael‐avenatti‐cried‐when‐judge‐sentenced‐him‐to‐2‐5‐
                                                                                                      years‐in‐jail/
175   07/09/21 Townhall             How Stormy Daniels Reacted to Avenatti's Sentencing               https://townhall.com/tipsheet/leahbarkoukis/2021/07/09/
                                                                                                      how‐stormy‐daniels‐reacted‐to‐avenattis‐sentencing‐
                                                                                                      n2592279
176   07/09/21 Twitter              The downfall of Michael Avenatti was obvious many miles           https://twitter.com/DrewHolden360/status/141327546635
               Drew Holden          away.                                                             8796292?ref_src=twsrc%5Etfw%7Ctwcamp%5Etweetembe
                                                                                                      d%7Ctwterm%5E1413481144490762244%7Ctwgr%5E%7Ct
                                                                                                      wcon%5Es3_&ref_url=https%3A%2F%2Ftwitchy.com%2Fdo
                                                                                                      ugp‐3137%2F2021%2F07%2F09%2Fdrew‐holdens‐mega‐
                                                                                                      thread‐on‐avenatti‐coverage‐casts‐shame‐on‐media‐bias‐
                                                                                                      gone‐awry%2F

177   07/09/21 Twitchy              Drew Holden’s mega‐thread on Avenatti coverage casts              https://twitchy.com/dougp‐3137/2021/07/09/drew‐
                                    shame on ‘media bias gone awry’                                   holdens‐mega‐thread‐on‐avenatti‐coverage‐casts‐shame‐
                                                                                                      on‐media‐bias‐gone‐awry/
178   07/09/21 Spectator            Michael Avenatti is the latest Spectator contributor to be        https://spectatorworld.com/topic/michael‐avenatti‐
                                    jailed ‐ Who’s next?                                              spectator‐contributor‐jailed/
179   07/09/21 People               Michael Avenatti Sentenced to 2.5 Years in Nike Extortion         https://people.com/politics/michael‐avenatti‐sentenced‐to‐
                                    Case ‐ The celebrity attorney's sentencing comes after he was     2‐5‐years‐in‐nike‐extortion‐case/
                                    convicted of trying to extort $25 million from the Nike company

180   07/09/21 Townhall             CBS Reporter Acknowledges Media's Failure in Avenatti             https://townhall.com/tipsheet/landonmion/2021/07/09/cb
                                    Coverage                                                          s‐reporter‐acknowledges‐medias‐failure‐in‐avenatti‐
                                                                                                      coverage‐n2592308

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181   07/09/21 The Sun            LAWYER ARRESTED Who is Michael Avenatti and what’s his             https://www.thesun.co.uk/news/7744494/what‐is‐michael‐
                                  net worth?                                                         avenattis‐net‐worth/
182   07/09/21 HITC               WHAT IS MICHAEL AVENATTI’S NET WORTH IN 2021?                      https://www.hitc.com/en‐gb/2021/07/09/michael‐avenatti‐
                                  LAWYER’S FINANCIAL LOSSES EXPLORED                                 net‐worth/
183   07/09/21 Nicki Swift        How Much Is Michael Avenatti Actually Worth?                    https://www.nickiswift.com/457630/how‐much‐is‐michael‐
                                                                                                  avenatti‐actually‐worth/
184   07/09/21 FOX News           Greg Gutfeld: Almost all the media's handiwork is a hate        https://www.foxnews.com/opinion/greg‐gutfeld‐media‐
                                  crime hoax against you ‐ Avenatti serves a purpose‐‐he shows us handiwork‐hate‐crime‐hoax
                                  how the media works, and how it doesn't
185   07/09/21 FOX News           Donald Trump Jr. tears into Avenatti, Fauci, Hunter Biden,      https://www.foxnews.com/politics/donald‐trump‐jr‐cpac‐
                                  and CNN in a fiery CPAC Dallas speech ‐ Trump Jr. lamented      dallas
                                  that 'the world is going to hell' under the Biden administration

186   07/09/21 FOX News           Disgraced Avenatti a symbol of the biased anti‐Trump media https://www.foxnews.com/media/disgraced‐avenatti‐
                                  era: Ari Fleischer                                         symbol‐biased‐anti‐trump‐media‐ari‐fleischer
                                  'The damage the mainstream media did to America to get Donald
                                  Trump was fierce,' Fox News contributor says
187   07/09/21 FOX News           Joe Concha on the media's lesson following Avenatti                https://www.foxnews.com/opinion/joe‐conch‐media‐
                                  sentence: 'Don't befriend a shady hustler' ‐ Avenatti goes         michael‐avenatti‐jail‐msnbc‐cnn
                                  from the small screen to the big house, though you won’t hear
                                  much about this from the media
188   07/09/21 FOX News           CBS correspondent admits 'maybe we went about covering'            https://www.foxnews.com/media/cbs‐news‐michael‐
                                  Michael Avenatti 'the wrong way' ‐ The disgraced anti‐             avenatti
                                  Trump lawyer received a 2.5‐year prison sentence for his
                                  Nike extortion plot
189   07/09/21 FOX News           The New York Times getting criticized for defending                https://www.foxnews.com/category/person/michael‐
                                  'pornography literacy' for first graders, ex‐CNN regular           avenatti
                                  Michael Avenatti getting prison time for Nike extortion, and
                                  The Lincoln Project's co‐founder saying the Capitol riot was
                                  worse than 9/11 round out today's top media headlines




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190   07/09/21 FOX News            MSNBC gives Avenatti prison sentence less than 2 minutes of https://www.foxnews.com/media/msnbc‐michael‐avenatti‐
                                   coverage after inviting him on‐air over 100 times. The liberal prison‐sentence‐coverage
                                   network completely avoided the breaking news on Thursday

191   07/09/21 Mediate             Judge Jeanine, Tomi Lahren Slam CNN’s Prior Positive          https://www.mediaite.com/tv/judge‐jeanine‐tomi‐lahren‐
                                   Coverage of ‘Bozo’ Michael Avenatti: If You’re Anti‐Trump,    slam‐cnns‐prior‐positive‐coverage‐of‐bozo‐michael‐
                                   ‘You Get a Gold Star’                                         avenatti‐if‐youre‐anti‐trump‐you‐get‐a‐gold‐star/

192   07/09/21 Mediate             CBS Correspondent Reflects on Media’s Coverage of Avenatti https://www.mediaite.com/tv/cbs‐correspondent‐reflects‐
                                   After Prison Sentence: ‘Maybe We Went About Covering       on‐medias‐coverage‐of‐avenatti‐after‐prison‐sentence‐
                                   Him the Wrong Way’                                         maybe‐we‐went‐about‐covering‐him‐the‐wrong‐way/


193   07/09/21 Graham Allen        Liberal Lawyer and Trump Nemesis, Michael Avenatti Cries      https://grahamallen.com/2021/07/liberal‐lawyer‐and‐
                                   While Being Sentenced To Prison                               trump‐nemesis‐michael‐avenatti‐cries‐while‐being‐
                                                                                                 sentenced‐to‐prison/
194   07/09/21 IJR ‐ Independent   Flashback: Avenatti Dubbed 'Savior of the Republic,'          https://ijr.com/flashback‐avenatti‐dubbed‐savior‐republic/
               Journal Review      Considered Potential Presidential Contender
195   07/09/21 IJR ‐ Independent   Michael Avenatti Weeps as He Is Sentenced for Failed          https://ijr.com/avenatti‐sentenced‐failed‐attempt‐extort‐
               Journal Review      Attempt To Extort Nike                                        nike/
196   07/09/21 9NEWS               Stormy Daniels' lawyer Michael Avenatti jailed over Nike      https://www.9news.com.au/world/stormy‐daniels‐lawyer‐
                                   extortion plot                                                sentenced‐to‐two‐and‐a‐half‐years‐jail/ec089d12‐3432‐
                                                                                                 4726‐8815‐939715af975c
197   07/09/21 WBRZ2               Michael Avenatti sentenced to 2.5 years for attempting to     https://www.wbrz.com/news/michael‐avenatti‐sentenced‐
                                   extort Nike                                                   to‐2‐5‐years‐for‐attempting‐to‐extort‐nike
198   07/09/21 Daily Beast         Resistance Grifter Michael Avenatti Gets What He Had          https://www.thedailybeast.com/resistance‐grifter‐michael‐
                                   Coming                                                        avenatti‐gets‐what‐he‐had‐coming?ref=home

199   07/09/21 CNA                 Michael Avenatti sentenced to 2.5 years prison for Nike       https://www.channelnewsasia.com/news/sport/michael‐
               Channel News Asia   extortion scheme                                              avenatti‐sentenced‐to‐2‐5‐years‐prison‐for‐nike‐15183838

200   07/09/21 New Punch           CNN’s Super Hero Lawyer Michael Avenatti Sentenced to 30 https://newspunch.com/cnns‐super‐hero‐lawyer‐michael‐
                                   Months in Prison for Extortion – Cries in Courtroom      avenatti‐sentenced‐to‐30‐months‐in‐prison‐for‐extortion‐
                                                                                                 cries‐in‐courtroom/
201   07/09/21 Yahoo News          Avenatti Cries as He’s Sentenced to Prison for ‘Outrageous’   https://www.yahoo.com/news/michael‐avenatti‐gets‐two‐
                                   Extortion Scheme                                              half‐184917241.html


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                                                 EXAMPLES OF AVENATTI PRESS COVERAGE
                                                          July 8 ‐ July 11, 2021

202   07/09/21 Occidental Dissent   Tucker Carlson: Shitlib Hero Michael Avenatti Cries While   http://www.occidentaldissent.com/
                                    Being Sentenced To Prison
203   07/09/21 CW44                 Michael Avenatti Gets 2.5 Years In Prison For Attempting To https://cwtampa.cbslocal.com/2021/07/09/michael‐
                                    Extort Nike                                                 avenatti‐gets‐2‐5‐years‐in‐prison‐for‐attempting‐to‐extort‐
                                                                                                    nike/
204   07/09/21 Americans with       Michael Avenatti sentenced to 2 1/2 years in prison for Nike https://adacomplynow.net/2021/07/09/michael‐avenatti‐
               Disabilities Act     extortion scheme                                             sentenced‐to‐2‐1‐2‐years‐in‐prison‐for‐nike‐extortion‐
                                                                                                    scheme/
205   07/09/21 News Daylight        Michael Avenatti sentenced to 2 1/2 years in prison for         https://newsdaylight.com/2021/07/09/michael‐avenatti‐
                                    extortion                                                       sentenced‐to‐2‐1‐2‐years‐in‐prison‐for‐extortion/

206   07/10/21 SFGate               Avenatti sentenced to 2 1/2 years in prison for extortion       https://www.sfgate.com/news/article/Michael‐Avenatti‐
               UPDATED                                                                              faces‐sentencing‐in‐Nike‐16300177.php




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                       Exhibit C
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                       Exhibit E
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                   Google Trends: Interest Over Time
       as Evidenced by Number of Searches For "Michael Avenatti"
                            (United States)




                   Google Trends: Interest Over Time
       as Evidenced by Number of Searches For "Michael Avenatti"
                              (California)
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                       Exhibit F
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       Google Trends: Search Interest in "Michael Avenatti" By City
                           (July 8 - 11, 2021)
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1
                                    CERTIFICATE OF SERVICE

2           I, H. Dean Steward, am a citizen of the United States, and am at least 18 years of
3
      age. My business address is 17 Corporate Plaza, Suite 254 in Newport Beach, California
4

5     92660. I am not a party to the above-entitled action. I have caused, on July 12, 2021,

6     service of the defendant’s:
7
       DEFENDANT’S EX PARTE APPLICATION FOR ORDER CONTINUING TRIAL
8     DATE AND FINDING EXCLUDABLE TIME DUE TO RECENT PERVASIVE AND
9         PREJUDICIAL PRE-TRIAL PUBLICITY AND THE GOVERNMENT’S
                           ASSOCIATED CONDUCT
10
      on the following party, using the Court’s ECF system:
11

12    AUSA BRETT SAGEL AND AUSA ALEXANDER WYMAN
13
      I declare under penalty of perjury that the foregoing is true and correct.
14
      Executed on July 12, 2021
15

16
                                              /s/ H. Dean Steward
17
                                              H. Dean Steward
18

19

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